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                              CITY OF MIAMI BEACH, FLORIDA
                                    PERSONNEL RULES

                      Approved by the Personnel Board February 20, 1939
                         Adopted by the City Council March 8, 1939
                             AS AMENDED OCTOBER, 1998
                                AS AMENDED APRIL, 2001
                              AS AMENDED AUGUST, 2005
                           AS AMENDED DECEMBER 12, 2014

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                                  RULE I. GENERAL PROVISIONS

     SECTION 1: PURPOSE OF RULES: These Rules are adopted pursuant to Section 2 and
     Section 6 of AN ACT CREATING A CIVIL SERVICE SYSTEM FOR CERTAIN OFFICERS
     AND EMPLOYEES OF THE CITY OF MIAMI BEACH, FLORIDA, for the furtherance of
     personnel activities and transactions on the sole basis of merit and competence in the best
     interests of the City and without regard to personal, political, or other extraneous matters. These
     Rules provide specific Regulations on daily personnel matters. These Rules will govern in
     resolving personnel problems, but cannot be so precise or complete as to address every
     employment situation.

     SECTION 2: POSITIONS COVERED BY RULES: These Rules apply to all Positions in the
     Classified Service of the City, except as herein otherwise stated, provided, however, a provision
     herein will not apply to a Position covered by a collective bargaining agreement if the provision
     herein is in conflict with the expressed written provisions of the collective bargaining
     agreement covering that Position.

     SECTION 3: PROHIBITIONS AND RESTRICTIONS: The following, and such other acts
     or activities as are determined to be detrimental to the best service to the City, and as specified
     in Administrative Regulations, shall be prohibited:

            (a)     DISCRIMINATION: No person in the Classified Service of the City or seeking
            admission thereto shall be appointed, promoted, removed, or in any way favored or
            discriminated against because of political or religious opinions or affiliations, race, color,
            national origin, gender, gender identity, sexual orientation, marital and familial status,
            religion or age, a disability where the individual can perform the essential functions of the
            job with or without reasonable accommodation, or other non-merit factors. No question in
            any examination, application form, other personnel proceedings, or by any Appointing
            Authority or supervisor shall be so framed as to attempt to elicit information concerning
            any of the above. Any person seeking admission to the Classified Service or any
            employee in the Classified Service, regardless of employment status, who believes that he
            or she has been discriminated against in violation of this Section, shall have a right to
            report such violation to the Human Resources Director or the City Manager.

            (b)    POLITICAL ACTIVITY: No person who holds a Position in the Classified
            Service of the City shall:

                    1.     Use official authority or influence for the purpose of interfering with an
                    election, a nomination to office, coercing or influencing another person's vote, or
                    affecting the result thereof; or

                    2.     Directly or indirectly coerce or attempt to coerce, command or advise any
                    other officer or employee to pay, lend, or contribute any wage, kick back any
                    sum of money, or anything else of value to any party, committee, organization,
                    agency, or person for political purposes.




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                    3.     Nothing contained in this Subsection shall be deemed to prohibit any
                    person in the Classified Service from expressing opinions on any candidate or
                    issue, or from participating in any political campaign while off-duty, so long as
                    such activities are not in conflict with the provisions of subsections (1) or (2) of
                    this subsection or Rule II, The Code of Ethics herein.

             (c)   ABUSE OF INFLUENCE: No person shall corruptly use or promise to use or
            endeavor to corruptly use or obtain, either directly or indirectly, any authority or
            influence in order to secure or aid oneself or any other person in securing any office,
            employment, Promotion or increase in compensation as a reward for such influence. No
            person shall threaten or coerce, induce or seek to induce anyone to resign from a
            Position or waive a right to Certification, Appointment or Promotion.

             (d)    EMPLOYMENT RESTRICTIONS:

                    1.    No person who holds a Position in the Classified Service of the City shall
                    engage in any other employment or pursue any other gainful occupation than
                    employment with the City except as formally approved in advance, in writing by
                    the Appointing Authority and the City Manager.

                    2.    Subject to written approval from the City Manager or a designee, any
                    person may be appointed to more than one part-time Position in the service of
                    the City provided that the work hours do not conflict and the total does not
                    exceed twenty nine (29) hours in any week, provided further however, that the
                    Human Resources Director may approve hours in excess of twenty nine (29) on a
                    weekly basis.

                    3.      Individuals who are related by blood, marriage or other legal action, who
                    live in a domestic partnership, or otherwise comprise a family unit or who reside
                    in the same residence, shall not hold any positions in the same division within
                    the same department where one evaluates or supervises the other.

                    4.     No officer or employee in the Classified Service of the City shall continue
                    in such position after becoming a candidate for nomination or election to any
                    public office.

     SECTION 4: VIOLATION OF RULES: Violation of or permitting the violation of any of the
     provisions of these Rules shall be just cause for discipline, including Removal. Any person
     found to have violated these Rules also shall be subject to the penalties prescribed in the Civil
     Service Act, if applicable, for violation of any of the provisions of the Act. Employees who
     know of violations and fail to report them are subject to the same aforementioned penalties.

     SECTION 5: AMENDMENTS OF RULES: Amendments and revisions of these Rules shall
     be initiated by the Human Resources Director and/or the Personnel Board. Amendments shall
     be adopted according to the procedure established by the Civil Service Act. The City Manager
     and Employee Members of the Personnel Board shall have no less than thirty (30) days to
     review any proposed amendments of these Rules before the proposed amendments are

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     submitted for vote to the Personnel Board for its approval. Notice shall also be provided to the
     President of each of the collective bargaining representatives thirty (30) days before the
     proposed amendments are submitted for vote to the Personnel Board for its approval.

     SECTION 6: ADMINISTRATIVE REGULATIONS: The Human Resources Director may
     recommend any amendment, revision, or rescission to the Administrative Regulations as
     deemed appropriate. The Administrative Regulations shall not conflict with the Civil Service
     Act or these Rules.

     SECTION 7: ASSISTANT HUMAN RESOURCES DIRECTOR: The Human Resources
     Director may designate an officer or employee as Assistant, who shall be empowered to
     perform such duties as the Human Resources Director may require.

     SECTION 8: DEFINITIONS: For the purpose of these Rules, certain terms, phrases, and
     words and their derivatives shall be construed as defined in this Section. Any terms, phrases,
     and words not herein defined shall be construed by the Personnel Board. Words used in the
     singular shall include the plural, and vice versa; words used in the masculine gender shall
     include the feminine, and vice versa. Whenever a Paragraph, Section, or Rule is referred to, it
     shall be understood to refer to a Paragraph, Section or Rule of these Rules unless specifically
     stated otherwise.

            (a)    ADMINISTRATIVE REGULATIONS: "Administrative Regulations" means
            the City's Policies and Procedures and Work Rules.

            (b) ADVANCEMENT: "Advancement" means a salary or wage increase within an
            arranged schedule or established pay range for a Classification made without an
            examination.

            (c)   APPOINTING AUTHORITY: "Appointing Authority" means the person in a
            department or a unit of the City who is empowered to make employment decisions.

            (d) APPOINTMENT: "Appointment" means placement to a Classified Position,
            including hiring, Demotion, Promotion or Transfer.

                   1.      EMERGENCY: "Emergency Appointment" means the appointment, in
                   case of an emergency without regard to Civil Service procedures, for a period not
                   to exceed thirty (30) days.

                   2.      TEMPORARY: "Temporary Appointment" means the appointment to
                   any Classified Position without Open Competitive Examination, with the
                   approval of the Human Resources Director, pending the establishment of an
                   Eligible List or during the approved absence of a Regular employee for a period
                   not to exceed one (1) year.




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                 3.     PROBATIONARY:            "Probationary     Appointment" means    the
                 appointment from an appropriate Eligible List to a Classified Position until
                 completion of the designated Probationary Period.

                 4.     REGULAR: "Regular Appointment" means the Appointment to a full-
                 time position after the satisfactory completion of a Probationary Period.

                 5.      RE-APPOINTMENT: "Re-Appointment" means the same as and is
                 interchangeable with re-employment.

                 6.      SUBSTITUTE: "Substitute Appointment" means the appointment to any
                 Classified Position where an employee is on a leave of absence and in the
                 opinion of the Human Resources Director it is impractical to utilize Temporary
                 Appointment.

           (e)   ASSIGNMENT: "Assignment" means the same as and is interchangeable with
          "Out of Classification" and both mean the transfer of an employee for a temporary
          period of no more than three (3) months in any twelve (12) month period from a Position
          in one Classification to a Position in another Classification provided, however, the time
          may be extended with written approval of the City Manager.

          (f)   BUSINESS DAYS: "Business Days" means Monday, Tuesday, Wednesday,
          Thursday, and Friday and does not include Saturday or Sunday.

           (g)   CALENDAR DAYS: "Calendar Days" means seven (7) days of the week,
          including Saturday and Sunday.

           (h) CERTIFIED: "Certified" means the Human Resources Director's assurance that
          the process or processes set forth herein have been followed.

           (i)    CHARGES: "Charges" mean allegations or counts of misconduct or violation of
          these or any other applicable rules, regulations, policies, or procedures.

          (j)   CIVIL SERVICE ACT: "Civil Service Act" refers to "AN ACT CREATING A
          CIVIL SERVICE SYSTEM FOR CERTAIN OFFICERS AND EMPLOYEES OF THE
          CITY OF MIAMI BEACH, FLORIDA."

           (k) CLASSIFICATION: "Classification" means one or more Positions sufficiently
          similar in duties and responsibilities such that the same descriptive title may be
          reasonably applied, the same qualifications reasonably required and the same salary
          range equitably applied.

           (1)     CLASSIFIED SERVICE: "Classified Service" means all Classifications in the
          Service of the City except those specifically identified in the unclassified service by the
          Civil Service Act Section 13.




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           (m) COMPENSATION PLAN: "Compensation Plan" means the Classified Salary
           Ordinance as established by the City Commission.

           (n)    DEMOTION: "Demotion" means a reduction in employment status from a
           higher Classification to a lower Classification with a lower maximum rate of pay.

            (o)    ELIGIBLE: "Eligible" means the condition of being qualified, or a person who
            has become qualified by examination, prior service or otherwise in accordance with the
            provisions of the Civil Service Act or these rules to serve in a Classified position in the
                                                                                   service of the City.

           (p) ELIGIBLE LISTS:              "Eligible List(s)" means the same as and is inter-
           changeable with "List of Eligibles" and both mean the list(s) of persons who are deemed
           qualified for Appointment to a Classification.

                   1.   Original Entrance Lists: "Original Entrance Lists" means the list(s) of
                  persons who have been successful in entrance examinations or who are
                  otherwise Eligible for consideration for employment in Classified Positions.

                   2.    Promotional Lists: "Promotional Lists" means the list(s) of persons who
                  have been successful in promotional examinations administered to Regular
                  employees in an appropriate lower Classification and who are otherwise Eligible
                  for appointment to higher Classifications.

                   3.   Transfer Lists: "Transfer Lists" means the list(s) of persons who have
                  expressed in writing the desire to transfer to a particular Position and who have
                  occupied another Position in such Classification as a Regular employee or who
                  the Human Resources Director has determined are otherwise qualified.
                  Probationary employees are not eligible to request a Transfer.

                   4.     Re-Employment Lists: "Re-Employment Lists" means the list(s) of
                  persons who have been laid off while employed in the Service of the City in a
                  classified Position for one year or less, and are entitled to have their name
                  certified to an Appointing Authority.

           (q) EVALUATOR: "Evaluator" means the Appointing Authority and/or any designated
           supervisory employee.

           (r)    GIFT: "Gift" means the transfer of anything of economic value, whether in the
           form of money, service, loan, travel, entertainment, hospitality, item or promise or in any
           other form, without adequate and lawful consideration. Food and beverages consumed at
           a single sitting or meal shall be considered a single gift, and the value of the food and
           beverage provided at that sitting or meal shall be considered the value of the gift.

           (s) HUMAN RESOURCES: "Human Resources" means the same as and is
           interchangeable with the term "Personnel"; "Human Resources Director" means the
           same as and is interchangeable with the term "Personnel Director."

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           (t)     JOB DESCRIPTION: "Job Description" means the job function and duties of a
           particular Position or budgeted slot within a Classification, in addition to the
           Specifications or Qualifications for that Classification.

           (u)    LAYOFF: "Layoff' means temporary or indefinite cessation of employment
           because of lack of work, lack of funding, material changes in job duties or material
           changes in organization.

           (v)     LEAVE SETTLEMENT: "Leave Settlement" means any earned and unused
           balance of annual vacation leave and sick leave, deducting therefrom any credit granted
           in 1939 when Civil Service was adopted, pursuant to the City's Leave Ordinance, for the
           Classified Service, Ordinance No. 1335.

           (w)    OPEN COMPETITIVE EXAMINATION: "Open Competitive Examination"
           means oral, written or physical examination after published notice, open to all who meet
           the minimum Specifications.

           (x)     OUT OF CLASSIFICATION: "Out of Classification" means the same as and is
           interchangeable with "Assignment" and both mean the transfer of an employee for a
           temporary period of no more than three (3) months in any twelve (12) month period
           from a Position in one Classification to a Position in another Classification provided,
           however, the time may be extended with written approval from the City Manager.

           (y)     POSITION: "Position" means the number of persons or budgeted slots for a
           Classification.

           (z)     PROBATIONARY PERIOD: "Probationary Period" means the evaluation
           period following an Appointment, except for Appointments made by demotion or
           Classification Transfer.

           (aa) PROMOTION: "Promotion" means appointment from a Position in a lower
           Classification to a Position in a Classification with a higher maximum rate of pay and an
           increase in employment status.

           (bb) QUALIFIED: "Qualified" means meeting minimum required Specifications.

           (cc) REJECTION: "Rejection" means the non-acceptance of an employee during a
           Probationary Period, because of failure to satisfy the requirements of the Appointing
           Authority.

           (dd) REMOVAL OR TERMINATION: "Termination" means the same as and is
           interchangeable with "Removal" and both mean involuntary cessation of employment for
           cause.

           (ee) REQUIREMENTS: "Requirements" means the same as and is interchangeable
           with "Schedule of Specifications."

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           (ff) SCHEDULE OF PAY: "Schedule of Pay" means the same as and is inter-
           changeable with the term "Compensation Plan."

           (gg) SCHEDULE OF SPECIFICATIONS: "Schedule of Specifications" means the
           same as and is interchangeable with "Requirements" or "Specifications."

           (hh) SERVICE: "Service" means the same as and is interchangeable with "Classified
           Service."

           (ii)    SEPARATION: "Separation" means (1) the voluntary cessation of
           employment, including, but not limited to resignation, or (2) the involuntary cessation
           of employment, including, but not limited to Layoff, Removal, or Termination,
           regardless of whether such cessation is initiated by the employer or the employee, and
           (3) with or without cause attributable to the employee.

               (jj)   SPECIFICATIONS: "Specifications" means the knowledge, skill, abilities,
                physical conditions, experience, education, training, duties, examination, licensing,
                     testing, responsibilities, title, description of duties and any other requirements
                                                                           associated with the Position.

           (kk) SUSPENSION: "Suspension" means temporary removal without compensation for
           disciplinary purposes.

           (11) TRANSFER: "Transfer" means the change from one Position or Classification to
           another Position or Classification.

                  (a)    Classification Transfer: "Classification Transfer" means the transfer of
                  an employee from a Position in one Classification to a Position in another
                  Classification for which the employee is qualified and for which the same
                  maximum rate of pay has been established.

                  (b) Organizational Transfer: "Organizational Transfer" means the transfer
                  of an employee from a Position in one Classification to another Position in the
                  same Classification under another Appointing Authority and for which the same
                  maximum rate of pay has been established.

           (mm) WORK DAYS: "Work Days" mean the actual day(s) or shift(s) an individual is
           scheduled to work.




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                                 RULE II. THE CODE OF ETHICS

     SECTION 1: PURPOSE: City of Miami Beach employees are agents of the people and
     hold their Positions for the benefit of the public. As public servants, they must abide by the
     highest standards of conduct and faithfully discharge the duties of their Position, regardless
     of personal considerations and interests. They must recognize that promoting the public
     interest and maintaining the people's respect for their government is of foremost concern.
     All City officials and employees shall be accountable and responsible for their actions, shall
     abide by applicable codes of ethical conduct, and shall be subject to all penalties for
     violations thereof

     SECTION 2: THE CODE OF ETHICS: All employees must comply with the Code of
     Ethics Section 2-449 of the Miami Beach Code incorporated herein by reference and attached
     hereto as Exhibit A and the Florida Code of Conduct for City Officers incorporated herein by
     reference and attached hereto as Exhibit B. Employees must also:

            a)     Affirm the dignity and worth of the services rendered;

            b)     Maintain a constructive, creative, and practical attitude and a deep sense of
                   social responsibility as a trusted public servant;

            c)     Be dedicated to the highest principles of honesty and integrity in all public and
                   personal relationships so that the employee may merit the respect and confidence
                   of the public;

            d)     Conduct oneself so as to earn and maintain public confidence;

            e)     Conduct official and personal affairs so as to demonstrate that one cannot be
                   influenced improperly in the performance of duties;

            f)     Recognize that the purpose of employment is to serve the best interests of all
                   people;

            g)     Uphold and implement policies adopted;

            h)     Exercise discretion in political activities so as not to undermine public
                   confidence;

            i)     Continually improve professional skills and abilities;

            j)     Encourage communication between the public and the employee;

            k)     Emphasize friendly and courteous service to the public;

            1)     Seek to improve the quality and image of public service;

            m)     Resist any encroachment on professional responsibilities;

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            n)      Carry out duties without interference;

            o)      Perform duties on the basis of principle and justice without prejudice;

            p)      Handle all personnel matters on the basis of merit, fairness and
                    impartiality;

            q)      Seek no favor;

            r)      Avoid personal enrichment or profit secured by information, abuse of influence
                    or misuse of public time because it is dishonest; and

            s)      Accept no favor or service that might reasonably tend to influence the employee
                    improperly in the performance of the employee's duties.

     SECTION 3: PROHIBITION ON GIFTS:

            (a) No employee of the City of Miami Beach shall solicit or demand any gift, nor accept or
            agree to accept any gift regardless of its value from another person or entity for:

                    1.     An official action taken, to be taken, or which could be taken;

                    2.     A legal duty performed, to be performed, or which could be performed;

                    3.     A legal duty violated, to be violated, or which could be violated; or

                    4.     Any travel or travel-related expenses from a City vendor, contractor,
                    bidder or proposer (unless waived by majority vote of the City Commission);

                    5.      Additionally, employees who are required to file Gift Disclosure foiiiis with
                    the State of Florida or the City of Miami Beach (see Exhibit C attached hereto) are
                    further prohibited from receiving or soliciting where there is personal benefit to
                    themselves, other similarly-ranked employees or immediate family, any gift or series
                    of gifts during a calendar quarter in excess of $100 from a political committee or
                    individual (including partner, principal, etc.) who lobbies the City of Miami Beach.

            (b) All employees shall disclose any gift or series of gifts received during a single calendar
            quarter from any person or entity, having a value of one hundred dollars ($100) or more. Said
            disclosure shall be made by filing the appropriate form as described in attached Exhibit C.
            Forms are available on the City's Employee Intranet under the City Clerk's section of Forms
            Central, or by visiting the Office of the City Clerk, 1st Floor of City Hall.

     SECTION 4: STANDARD OF CONDUCT: Every employee must abide by and uphold the
     Citizen's Bill of Rights, Miami Beach, Florida, Code of Ordinance, Part 1, Subpart A incorporated
     by reference herein and attached hereto as Exhibit D. The public's confidence and trust in the City's


                                      13 - Amended December 12, 2014
                                              Personnel Rules                          CITY 001029
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     operations and government demands the most exacting ethical standards and the strictest
     adherence to the Code of Ethics.

     SECTION 5: DUTY TO REPORT: An employee with knowledge or information about any
     actual or potential violation of law or ethics shall immediately report such knowledge or
     information to the Appointing Authority, the Human Resources Director, or the City Manager.

     SECTION 6: DUTY TO SELF REPORT:

            (a)     Employees arrested, detained and issued a Notice to Appear, or charged with or
            indicted for a criminal offense (felony or misdemeanor), including driving under the
            influence (DUI) and/or other criminal traffic offenses, shall provide written notification
            to the Human Resources Director using the Notification of Employee Arrest which is
            attached hereto as Exhibit E, Indictment or Criminal Conviction Form (hereinafter
            referred to as "the Form") within two (2) calendar days. If it is impossible for the
            employee to make a timely report due to hospitalization or incarceration related to the
            incident, the Form shall be completed as soon as possible, and in no event more than
            twenty-four (24) hours after the employee's release. The Human Resources Director
            shall advise the City Manager of the employee's arrest, detainment, and issuance of a
            Notice to Appear, charge or indictment of a criminal offense.

            (b)     Employees shall report to the Human Resources Director, in writing, using the
            attached Form, any conviction, finding of guilt, withhold of adjudication, enrollment in
            a pretrial diversion program, or entering of a plea of guilty or nolo contendere for any
            criminal offense other than minor traffic violation within forty-eight (48) hours after the
            final judgment. The Human Resources Director shall advise the City Manager of the
            employee's conviction, finding of guilt, withhold of adjudication, enrollment in a
            pretrial diversion program, or entering of a plea of guilty or nolo contendere for any
            criminal offense.

     SECTION 7: FAILURE TO REPORT:

            (a)     An employee who knows or should have known of any violation of law or ethics
            and fails to report such knowledge or information may be subject to disciplinary action
            up to and including Removal.

            (b)    Supervisors who become aware of an employee who has been arrested, detained,
            issued a Notice to Appear, charged, indicted, convicted, found guilty, given a withhold
            of adjudication, enrolled in a pretrial diversion program or entered a plea of guilty or
            nolo contendere for any criminal offense other than minor traffic violation, whether
            misdemeanor or a felony, shall immediately notify the Human Resources Director.
            Failure to notify the Human Resources Director may lead to disciplinary action up to
            and including Removal.




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    Sec. 2-449. - Acceptance of gifts, favors, services.

         No officer or employee of the city shall accept any gift, favor or service that might reasonably tend
    improperly to influence him in the discharge of his official duties.
         (Code 1964, § 2-44(1))




                                                       Exhibit A
                                                                                           CITY 001031
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    The 2014 Florida Statutes

                           Title X                           Chapter 112
      PUBLIC OFFICERS, EMPLOYEES, AND PUBLIC OFFICERS AND EMPLOYEES: GENERAL
                 RECORDS                            PROVISIONS

      112.313 Standards of conduct for public officers, employees of agencies, and local
    government attorneys.—
      (1) DEFINITION.—As used in this section, unless the context otherwise requires, the term

    "public officer" includes any person elected or appointed to hold office in any agency, including

    any person serving on an advisory body.

      (2) SOLICITATION OR ACCEPTANCE OF GIFTS.—No public officer, employee of an agency,

    local government attorney, or candidate for nomination or election shall solicit or accept anything

    of value to the recipient, including a gift, loan, reward, promise of future employment, favor, or

    service, based upon any understanding that the vote, official action, or judgment of the public

    officer, employee, local government attorney, or candidate would be influenced thereby.

      (3) DOING BUSINESS WITH ONE'S AGENCY.—No employee of an agency acting in his or her

    official capacity as a purchasing agent, or public officer acting in his or her official capacity, shall

    either directly or indirectly purchase, rent, or lease any realty, goods, or services for his or her

    own agency from any business entity of which the officer or employee or the officer's or

    employee's spouse or child is an officer, partner, director, or proprietor or in which such officer

    or employee or the officer's or employee's spouse or child, or any combination of them, has a

    material interest. Nor shall a public officer or employee, acting in a private capacity, rent, lease,

    or sell any realty, goods, or services to the officer's or employee's own agency, if he or she is a

    state officer or employee, or to any political subdivision or any agency thereof, if he or she is

    serving as an officer or employee of that political subdivision. The foregoing shall not apply to

    district offices maintained by legislators when such offices are located in the legislator's place of
    business or when such offices are on property wholly or partially owned by the legislator. This

    subsection shall not affect or be construed to prohibit contracts entered into prior to:

      (a) October 1, 1975.

      (b) Qualification for elective office.

      (c)   Appointment to public office.

      (d) Beginning public employment.

      (4) UNAUTHORIZED COMPENSATION.—No public officer, employee of an agency, or local
    government attorney or his or her spouse or minor child shall, at any time, accept any

    compensation, payment, or thing of value when such public officer, employee, or local government

    attorney knows, or, with the exercise of reasonable care, should know, that it was given to




                                                    Exhibit B
                                                                                              CITY 001032
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    influence a vote or other action in which the officer, employee, or local government attorney was

    expected to participate in his or her official capacity.

       (5) SALARY AND EXPENSES.—No public officer shall be prohibited from voting on a matter

    affecting his or her salary, expenses, or other compensation as a public officer, as provided by law.

    No local government attorney shall be prevented from considering any matter affecting his or her

    salary, expenses, or other compensation as the local government attorney, as provided by law.
       (6) MISUSE OF PUBLIC POSITION.—No public officer, employee of an agency, or local
    government attorney shall corruptly use or attempt to use his or her official position or any
    property or resource which may be within his or her trust, or perform his or her official duties, to
    secure a special privilege, benefit, or exemption for himself, herself, or others. This section shall

    not be construed to conflict with s. 104.31.

       (7) CONFLICTING EMPLOYMENT OR CONTRACTUAL RELATIONSHIP.—
       (a) No public officer or employee of an agency shall have or hold any employment or

    contractual relationship with any business entity or any agency which is subject to the regulation

    of, or is doing business with, an agency of which he or she is an officer or employee, excluding

    those organizations and their officers who, when acting in their official capacity, enter into or

    negotiate a collective bargaining contract with the state or any municipality, county, or other

    political subdivision of the state; nor shall an officer or employee of an agency have or hold any

    employment or contractual relationship that will create a continuing or frequently recurring

    conflict between his or her private interests and the performance of his or her public duties or

    that would impede the full and faithful discharge of his or her public duties.

       1. When the agency referred to is that certain kind of special tax district created by general

    or special law and is limited specifically to constructing, maintaining, managing, and financing

    improvements in the land area over which the agency has jurisdiction, or when the agency has

    been organized pursuant to chapter 298, then employment with, or entering into a contractual

    relationship with, such business entity by a public officer or employee of such agency shall not

    be prohibited by this subsection or be deemed a conflict per se. However, conduct by such officer

    or employee that is prohibited by, or otherwise frustrates the intent of, this section shall be

    deemed a conflict of interest in violation of the standards of conduct set forth by this section.

       2. When the agency referred to is a legislative body and the regulatory power over the business

    entity resides in another agency, or when the regulatory power which the legislative body exercises

    over the business entity or agency is strictly through the enactment of laws or ordinances, then

    employment or a contractual relationship with such business entity by a public officer or employee of

    a legislative body shall not be prohibited by this subsection or be deemed a conflict.

       (b) This subsection shall not prohibit a public officer or employee from practicing in a particular

    profession or occupation when such practice by persons holding such public office or employment is



                                                    Exhibit B
                                                                                             CITY 001033
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    required or permitted by law or ordinance.
       (8) DISCLOSURE OR USE OF CERTAIN INFORMATION.—A current or former public officer,

    employee of an agency, or local government attorney may not disclose or use information not

    available to members of the general public and gained by reason of his or her official position,

    except for information relating exclusively to governmental practices, for his or her personal

    gain or benefit or for the personal gain or benefit of any other person or business entity.
       (9) POSTEMPLOYMENT RESTRICTIONS; STANDARDS OF CONDUCT FOR LEGISLATORS
    AND LEGISLATIVE EMPLOYEES.—

       (a)1. It is the intent of the Legislature to implement by statute the provisions of s. 8(e), Art.

    II of the State Constitution relating to legislators, statewide elected officers, appointed state

    officers, and designated public employees.

       2. As used in this paragraph:

       a. "Employee" means:
       (I) Any person employed in the executive or legislative branch of government holding a

    position in the Senior Management Service as defined in s. 110.402 or any person holding a

    position in the Selected Exempt Service as defined in s. 110.602 or any person having authority

    over policy or procurement employed by the Department of the Lottery.

       (II) The Auditor General, the director of the Office of Program Policy Analysis and Government

    Accountability, the Sergeant at Arms and Secretary of the Senate, and the Sergeant at Arms and

    Clerk of the House of Representatives.

       (III) The executive director and deputy executive director of the Commission on Ethics.
       (IV) An executive director, staff director, or deputy staff director of each joint committee,

    standing committee, or select committee of the Legislature; an executive director, staff director,

    executive assistant, analyst, or attorney of the Office of the President of the Senate, the Office of

    the Speaker of the House of Representatives, the Senate Majority Party Office, Senate Minority

    Party Office, House Majority Party Office, or House Minority Party Office; or any person, hired on a

    contractual basis, having the power normally conferred upon such persons, by whatever title.

       (V) The Chancellor and Vice Chancellors of the State University System; the general counsel

    to the Board of Governors of the State University System; and the president, provost, vice

    presidents, and deans of each state university.

       (VI) Any person, including an other-personal-services employee, having the power

    normally conferred upon the positions referenced in this sub-subparagraph.

       b. "Appointed state officer" means any member of an appointive board, commission,

    committee, council, or authority of the executive or legislative branch of state government whose

    powers, jurisdiction, and authority are not solely advisory and include the final determination or

    adjudication of any personal or property rights, duties, or obligations, other than those relative to



                                                      Exhibit B
                                                                                            CITY 001034
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    its internal operations.
       c. "State agency" means an entity of the legislative, executive, or judicial branch of state
    government over which the Legislature exercises plenary budgetary and statutory control.
       3.a. No member of the Legislature, appointed state officer, or statewide elected officer shall
    personally represent another person or entity for compensation before the government body or
    agency of which the individual was an officer or member for a period of 2 years following vacation
    of office. No member of the Legislature shall personally represent another person or entity for
    compensation during his or her term of office before any state agency other than judicial tribunals
    or in settlement negotiations after the filing of a lawsuit.
       b. For a period of 2 years following vacation of office, a former member of the Legislature may
    not act as a lobbyist for compensation before an executive branch agency, agency official, or
    employee. The terms used in this sub-subparagraph have the same meanings as provided in s.
    112.3215.
       4. An agency employee, including an agency employee who was employed on July 1, 2001, in a
    Career Service System position that was transferred to the Selected Exempt Service System under
    chapter 2001-43, Laws of Florida, may not personally represent another person or entity for
    compensation before the agency with which he or she was employed for a period of 2 years following
    vacation of position, unless employed by another agency of state government.
       5. Any person violating this paragraph shall be subject to the penalties provided in s. 112.317 and
    a civil penalty of an amount equal to the compensation which the person receives for the prohibited
    conduct.

       6. This paragraph is not applicable to:
       a. A person employed by the Legislature or other agency prior to July 1, 1989;
       b. A person who was employed by the Legislature or other agency on July 1, 1989, whether or not
    the person was a defined employee on July 1, 1989;
       c. A person who was a defined employee of the State University System or the Public Service
    Commission who held such employment on December 31, 1994;
       d. A person who has reached normal retirement age as defined in s. 121.021(29), and who has
    retired under the provisions of chapter 121 by July 1, 1991; or
       e. Any appointed state officer whose term of office began before January 1, 1995, unless
    reappointed to that office on or after January 1, 1995.
       (b) In addition to the provisions of this part which are applicable to legislators and legislative
    employees by virtue of their being public officers or employees, the conduct of members of the
    Legislature and legislative employees shall be governed by the ethical standards provided in the
    respective rules of the Senate or House of Representatives which are not in conflict herewith.

       (10) EMPLOYEES HOLDING OFFICE.—


                                                          Exhibit B
                                                                                                   CITY 001035
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       (a) No employee of a state agency or of a county, municipality, special taxing district, or other

    political subdivision of the state shall hold office as a member of the governing board, council,

    commission, or authority, by whatever name known, which is his or her employer while, at the

    same time, continuing as an employee of such employer.
       (b) The provisions of this subsection shall not apply to any person holding office in violation of
    such provisions on the effective date of this act. However, such a person shall surrender his or
    her conflicting employment prior to seeking reelection or accepting reappointment to office.

       (11) PROFESSIONAL AND OCCUPATIONAL LICENSING BOARD MEMBERS.—No officer,

    director, or administrator of a Florida state, county, or regional professional or occupational

    organization or association, while holding such position, shall be eligible to serve as a member of

    a state examining or licensing board for the profession or occupation.
       (12) EXEMPTION.—The requirements of subsections (3) and (7) as they pertain to persons

    serving on advisory boards may be waived in a particular instance by the body which appointed the

    person to the advisory board, upon a full disclosure of the transaction or relationship to the

    appointing body prior to the waiver and an affirmative vote in favor of waiver by two-thirds vote of

    that body. In instances in which appointment to the advisory board is made by an individual, waiver

    may be effected, after public hearing, by a determination by the appointing person and full disclosure

    of the transaction or relationship by the appointee to the appointing person. In addition, no person

    shall be held in violation of subsection (3) or subsection (7) if:
       (a) Within a city or county the business is transacted under a rotation system whereby the
    business transactions are rotated among all qualified suppliers of the goods or services within
    the city or county.

       (b) The business is awarded under a system of sealed, competitive bidding to the lowest or
    best bidder and:

       1. The official or the official's spouse or child has in no way participated in the
    determination of the bid specifications or the determination of the lowest or best bidder;

       2. The official or the official's spouse or child has in no way used or attempted to use the

    official's influence to persuade the agency or any personnel thereof to enter such a contract other

    than by the mere submission of the bid; and

       3. The official, prior to or at the time of the submission of the bid, has filed a statement with

    the Commission on Ethics, if the official is a state officer or employee, or with the supervisor of

    elections of the county in which the agency has its principal office, if the official is an officer or

    employee of a political subdivision, disclosing the official's interest, or the interest of the official's

    spouse or child, and the nature of the intended business.

       (c) The purchase or sale is for legal advertising in a newspaper, for any utilities service, or

    for passage on a common carrier.



                                                        Exhibit B
                                                                                               CITY 001036
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      (d) An emergency purchase or contract which would otherwise violate a provision of

    subsection (3) or subsection (7) must be made in order to protect the health, safety, or welfare

    of the citizens of the state or any political subdivision thereof.
      (e) The business entity involved is the only source of supply within the political subdivision of

    the officer or employee and there is full disclosure by the officer or employee of his or her

    interest in the business entity to the governing body of the political subdivision prior to the
    purchase, rental, sale, leasing, or other business being transacted.

      (f) The total amount of the transactions in the aggregate between the business entity and
    the agency does not exceed $500 per calendar year.

      (g) The fact that a county or municipal officer or member of a public board or body, including

    a district school officer or an officer of any district within a county, is a stockholder, officer, or

    director of a bank will not bar such bank from qualifying as a depository of funds coming under

    the jurisdiction of any such public board or body, provided it appears in the records of the

    agency that the governing body of the agency has determined that such officer or member of a

    public board or body has not favored such bank over other qualified banks.

      (h) The transaction is made pursuant to s. 1004.22 or s. 1004.23 and is specifically approved

    by the president and the chair of the university board of trustees. The chair of the university

    board of trustees shall submit to the Governor and the Legislature by March 1 of each year a

    report of the transactions approved pursuant to this paragraph during the preceding year.

      (i) The public officer or employee purchases in a private capacity goods or services, at a

    price and upon terms available to similarly situated members of the general public, from a

    business entity which is doing business with his or her agency.
      (j) The public officer or employee in a private capacity purchases goods or services from
    a business entity which is subject to the regulation of his or her agency and:

      1. The price and terms of the transaction are available to similarly situated members of

    the general public; and

      2. The officer or employee makes full disclosure of the relationship to the agency head

    or governing body prior to the transaction.

      (13) COUNTY AND MUNICIPAL ORDINANCES AND SPECIAL DISTRICT AND SCHOOL DISTRICT

    RESOLUTIONS REGULATING FORMER OFFICERS OR EMPLOYEES.—The governing body of any

    county or municipality may adopt an ordinance and the governing body of any special district or

    school district may adopt a resolution providing that an appointed county, municipal, special district,

    or school district officer or a county, municipal, special district, or school district employee may not

    personally represent another person or entity for compensation before the government body or

    agency of which the individual was an officer or employee for a period of 2 years following vacation

    of office or termination of employment, except for the purposes of collective bargaining.



                                                       Exhibit B
                                                                                              CITY 001037
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    Nothing in this section may be construed to prohibit such ordinance or resolution.
      (14) LOBBYING BY FORMER LOCAL OFFICERS; PROHIBITION.—A person who has been
    elected to any county, municipal, special district, or school district office may not personally

    represent another person or entity for compensation before the government body or agency of
    which the person was an officer for a period of 2 years after vacating that office. For purposes

    of this subsection:
      (a) The "government body or agency" of a member of a board of county commissioners

    consists of the commission, the chief administrative officer or employee of the county, and their

    immediate support staff.

      (b) The "government body or agency" of any other county elected officer is the office or

    department headed by that officer, including all subordinate employees.
      (c) The "government body or agency" of an elected municipal officer consists of the
    governing body of the municipality, the chief administrative officer or employee of the
    municipality, and their immediate support staff.

      (d) The "government body or agency" of an elected special district officer is the special

    district.

      (e) The "government body or agency" of an elected school district officer is the school district.
      (15) ADDITIONAL EXEMPTION.—No elected public officer shall be held in violation of

    subsection (7) if the officer maintains an employment relationship with an entity which is

    currently a tax-exempt organization under s. 501(c) of the Internal Revenue Code and which

    contracts with or otherwise enters into a business relationship with the officer's agency and:

      (a) The officer's employment is not directly or indirectly compensated as a result of

    such contract or business relationship;

      (b) The officer has in no way participated in the agency's decision to contract or to enter into

    the business relationship with his or her employer, whether by participating in discussion at the

    meeting, by communicating with officers or employees of the agency, or otherwise; and

      (c) The officer abstains from voting on any matter which may come before the agency

    involving the officer's employer, publicly states to the assembly the nature of the officer's

    interest in the matter from which he or she is abstaining, and files a written memorandum as

    provided in s. 112.3143.

      (16) LOCAL GOVERNMENT ATTORNEYS.—
      (a) For the purposes of this section, "local government attorney" means any individual who

    routinely serves as the attorney for a unit of local government. The term shall not include any

    person who renders legal services to a unit of local government pursuant to contract limited to a

    specific issue or subject, to specific litigation, or to a specific administrative proceeding. For the

    purposes of this section, "unit of local government" includes, but is not limited to, municipalities,



                                                       Exhibit B
                                                                                               CITY 001038
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    counties, and special districts.
        (b) It shall not constitute a violation of subsection (3) or subsection (7) for a unit of local
    government to contract with a law firm, operating as either a partnership or a professional

    association, or in any combination thereof, or with a local government attorney who is a member

    of or is otherwise associated with the law firm, to provide any or all legal services to the unit of
    local government, so long as the local government attorney is not a full-time employee or

    member of the governing body of the unit of local government. However, the standards of
    conduct as provided in subsections (2), (4), (5), (6), and (8) shall apply to any person who

    serves as a local government attorney.

        (c) No local government attorney or law firm in which the local government attorney is a

    member, partner, or employee shall represent a private individual or entity before the unit of
    local government to which the local government attorney provides legal services. A local

    government attorney whose contract with the unit of local government does not include

    provisions that authorize or mandate the use of the law firm of the local government attorney to
    complete legal services for the unit of local government shall not recommend or otherwise refer

    legal work to that attorney's law firm to be completed for the unit of local government.

        (17) BOARD OF GOVERNORS AND BOARDS OF TRUSTEES.-No citizen member of the Board of

    Governors of the State University System, nor any citizen member of a board of trustees of a
    local constituent university, shall have or hold any employment or contractual relationship as a

    legislative lobbyist requiring annual registration and reporting pursuant to s. 11.045.

        History.-s. 3, ch. 67-469; s. 2, ch. 69-335; ss. 10, 35, ch. 69-106; s. 3, ch. 74-177; ss. 4, 11, ch. 75-208; s. 1, ch.

    77-174; s. 1, ch. 77-349; s. 4, ch. 82-98; s. 2, ch. 83-26; s. 6, ch. 83-282; s. 14, ch. 85-80; s. 12, ch. 86-145; s. 1, ch.

    88-358; s. 1, ch. 88-408; s. 3, ch. 90-502; s. 3, ch. 91-85; s. 4, ch. 91-292; s. 1, ch. 92-35; s. 1, ch. 94-277; s. 1406,

    ch. 95-147; s. 3, ch. 96-311; s. 34, ch. 96-318; s. 41, ch. 99-2; s. 29, ch. 2001-266; s. 20, ch. 2002-1; s, 894, ch.

    2002-387; s. 2, ch. 2005-285; s. 2, ch. 2006-275; s. 10, ch. 2007-217; s. 16, ch. 2011-34; s. 3, ch. 2013-36.




                                                                 Exhibit B
                                                                                                               CITY 001039
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      CITY OF MIAMI BEACH GIFT AND CONTRIBUTION DISCLOSURE FORM
EMPLOYEE'S LAST NAME - FIRST NAME:                        EMPLOYEE'S IDENTIFICATION NUMBER:


DEPARTMENT:                                               POSITION HELD:


                             PLEASE COMPLETE PARTS A AND B

                PART A - STATEMENT OF GIFT AND CONTRIBUTION


Please list below each gift received by you. You are required to describe the gift and state the monetary value of
the gift, the name and address of the person making the gift, and the date(s) received. If any of these facts, other
than the gift description, are unknown or not applicable, you should so state on the form.

     DATE AND TIME      DESCRIPTION AND         APPROXIMATE         NAME OF PERSON         ADDRESS OF PERSON
       RECEIVED           TYPE OF GIFT           MONETARY           AND/OR BUSINESS         AND/OR BUSINESS
                                                   VALUE            MAKING THE GIFT          MAKING THE GIFT
A

B

C

D




        PART B - GIFT AND CONTRIBUTION RETURN INFORMATION OR
          DELIVERY TO CITY MANAGER'S OFFICE FOR DONATION
      DATE GIFT              NAME OF         DONATION MADE TO CITY MANAGER'S OFFICE STAFF
      RETURNED,        RECEIVER/SUPERVISOR APPROVED NON-PROFIT   DISPOSAL CONFIRMATION
     DONATED OR                            USING THE CITY'S NON-     (IF APPLICABLE)
     DISPOSED OF                            PROFIT DISTRIBUTION
                                                    LIST
 A

 B

 C

 D



      RETURN FORM TO THE CITY MANAGER'S OFFICE WITHIN THREE (3) DAYS OF
 GIFT/CONTRIBUTION RECEIPT ALONG WITH A COPY OF GIFT/CONTRIBUTION CUSTOMER
                                LETTER SENT.




                                                     Exhibit C                             CITY 001040
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   FORM 9                                           QUARTERLY GIFT DISCLOSURE
                                                        (GIFTS OVER $100)
LAST NAME — FIRST NAME — MIDDLE NAME:                                                  NAME OF AGENCY:

MAILING ADDRESS:                                                                       OFFICE OR POSITION HELD:

CITY:                                       ZIP:                    COUNTY:            FOR QUARTER ENDING (Check One):                               YEAR:
                                                                                        MARCH      JUNE       SEPTEMBER                       DECEMBER 20

                                                        PART A — STATEMENT OF GIFTS
Please list below each gift, the value of which you believe to exceed $100, accepted by you during the calendar quarter for which this
statement is being filed. You are required to describe the gift and state the monetary value of the gift, the name and address of the person
making the gift, and the date(s) the gift was received. If any of these facts, other than the gift description, are unknown or not applicable,
you should so state on the form. As explained more fully in the instructions on the reverse side of the form, you are not required to disclose
gifts from relatives or certain other gifts. You are not required to file this statement for any calendar quarter during which you did not receive
a reportable gift.
       DATE                       DESCRIPTION                    MONETARY               NAME OF PERSON                           ADDRESS OF PERSON
     RECEIVED                       OF GIFT                       VALUE                 MAKING THE GIFT                            MAKING THE GIFT




    CHECK HERE IF CONTINUED ON SEPARATE SHEET



                             PART B — RECEIPT PROVIDED BY PERSON MAKING THE GIFT

If any receipt for a gift listed above was provided to you by the person making the gift, you are required to attach a copy of that receipt to this form. You may
attach an explanation of any differences between the information disclosed on this form and the information on the receipt.

   CHECK HERE IF A RECEIPT IS ATTACHED TO THIS FORM


                                                                       PART C — OATH
                                                                              STATE OF FLORIDA
I, the person whose name appears at the beginning of this form,
                                                                              COUNTY OF
do depose on oath or affirmation and say that the information
                                                                              Sworn to (or affirmed) and subscribed before me this _______________________
disclosed herein and on any attachments made by me constitutes
                                                                              day of                                                          ,20
a true, accurate, and total listing of all gifts required to be reported
                                                                              by _______________________________________________________________
by Section 112.3148, Florida Statutes.

                                                                                                    (Signature of Notary Public-State of Florida)




 SIGNATURE OF REPORTING OFFICIAL                                                        (Print, Type, or Stamp Commissioned Name of Notary Public)
                                                                               Personally Known ______________ OR Produced Identification ______________

                                                                               Type of Identification Produced

                                                       PART D — FILING INSTRUCTIONS
This form, when duly signed and notarized, must be filed with the Commission on Ethics, P.O. Drawer 15709, Tallahassee, Florida 32317-
5709. The form must be filed no later than the last day of the calendar quarter that follows the calendar quarter for which this form is filed.
(For example, if a gift is received in March, it should be disclosed by June 30.)
     CE FORM 9 - EFF. 1/2001                                                                                        (See reverse side for instructions)

                                                                              Exhibit C                                          CITY 001041
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                                                              PART E — INSTRUCTIONS
WHO MUST FILE THIS FORM?                                                                  license or certificate; other personal services for which a fee is normally
                                                                                          charged by the person providing the services; and any other similar
 Any individual, including a candidate upon qualifying, who is required by               service or thing having an attributable value and not already described.
  law to file full and public disclosure of his financial interests on
                                                                                         •The following are NOT reportable as gifts on this form: salary, benefits,
  Commission on Ethics Form 6, except Judges. (See Form 6 for a list of
                                                                                          services, fees, commissions, gifts, or expenses associated primarily with
  persons required to file that form.)
                                                                                          your employment, business, or service as an officer or director of a
• Any individual, including a candidate upon qualifying, who is required by               corporation or organization; contributions or expenditures pursuant to the
  law to file a statement of financial interests on Commission on Ethics Form             election laws, campaign-related personal services provided without
  1. (See Form 1 for a list of persons required to file that form.)                       compensation by individuals volunteering their time, or any other
• Any procurement employee of the executive branch or judicial branch of                  contribution or expenditure by a political party; an honorarium or an
  state government. This includes any employee who participates through                   expense related to an honorarium event paid to you or your spouse; an
  decision, approval, disapproval, recommendation, preparation of any part                award, plaque, certificate, or similar personalized item given in recognition
  of a purchase request, influencing the content of any specification or                  of your public, civic, charitable, or professional service; an honorary
  procurement standard, rendering of advice, investigation, or auditing or in             membership in a service or fraternal organization presented merely as a
  any other advisory capacity in the procurement of contractual services or               courtesy by such organization; the use of a governmental agency's public
  commodities as defined in Section 287.012, Florida Statutes, if the cost of
                                                                                          facility or public property for a public purpose. Also exempted are some gifts
  such services or commodities exceeds $1,000 in any year.
                                                                                          from state, regional, and national organizations that promote the exchange
WHAT GIFTS ARE REPORTABLE?                                                                of ideas between, or the professional development of, governmental
   Any gift (as defined below) you received which you believe to be in excess             officials or employees.
   of $100 in value, EXCEPT:                                                             HOW DO I DETERMINE THE VALUE OF A GIFT?
   1) Gifts from the following RELATIVES: father, mother, son, daughter,                 •The value of a gift provided to you is determined using the actual cost to the
      brother, sister, uncle, aunt, first cousin, nephew, niece, husband, wife,           donor, and, with respect to personal services provided by the donor, the
      father-in-law, mother-in-law, son-in-law, daughter-in-law, brother-in-law,          reasonable and customary charge regularly charged for such service in the
      sister-in-law,    stepfather,    stepmother,    stepson,    stepdaughter,           community in which the service is provided. Taxes and gratuities are not
      stepbrother, stepsister, half brother, half sister, grandparent, great              included in valuing a gift. If additional expenses are required as a condition
      grandparent, grandchild, great grandchild, step grandparent, step great             precedent to the donor's eligibility to purchase or provide a gift and the
      grandparent, step grandchild, step great grandchild, a person who is                expenses are primarily for the benefit of the donor or are of a charitable
      engaged to be married to you or who otherwise holds himself or herself              nature, the expenses are not included in determining the value of the gift.
      out as or is generally known as the person whom you intend to marry or
                                                                                          Compensation provided by you to the donor shall be deducted from the
      with whom you intend to form a household, or any other natural person
                                                                                          value of the gift in determining the value of the gift.
      having the same legal residence as you.
                                                                                          If the actual gift value attributable to individual participants at an event
   2) Gifts which you are prohibited from accepting by Sections 112.313(4)
                                                                                          cannot be determined, the total costs should be prorated among all invited
      and 112.3148(4), Florida Statutes. These include any gift which you
                                                                                          persons. A gift given to several persons may be attributed among all of
      know or, with the exercise of reasonable care, should know was given
                                                                                          them on a pro rata basis. Food, beverages, entertainment, etc., provided at
      to influence a vote or other action in which you are expected to
                                                                                          a function for more than ten people should be valued by dividing the total
      participate in your official capacity; it also includes a gift worth over
                                                                                          costs by the number of persons invited, unless the items are purchased on
      $100 from a political committee or committee of continuous existence
                                                                                          a per-person basis, in which case the per-person cost should be used.
      under the elections law, from a lobbyist who lobbies your agency or
      who lobbied your agency within the past 12 months, or from a partner,               Transportation should be valued on a round-trip basis unless only one-way
      firm, employer, or principal of such a lobbyist.                                    transportation is provided. Round-trip transportation expenses should be
                                                                                          considered a single gift. Transportation provided in a private conveyance
   3) Gifts worth over $100 for which there is a public purpose, given to you
                                                                                          should be given the same value as transportation provided in a
      by an entity of the legislative or judicial branch, a department or
                                                                                          comparable commercial conveyance.
      commission of the executive branch, a water management district
      created pursuant to s. 373.069, Tri-County Commuter Rail Authority, the             Lodging provided on consecutive days should be considered a single gift.
      Technological Research and Development Authority, a county, a                       Lodging in a private residence should be valued at the per diem rate
      municipality, an airport authority, or a school board; or a gift worth over         provided in Sec. 112.061(6)(A)1, Fla. Stat., less the meal allowance rate
      $100 given to you by a direct-support organization specifically                     provided in Sec. 112.061(6)(B), Fla. Stat.
      authorized by law to support the governmental agency of which you are               Food and beverages consumed at a single sitting or event are a single gift
      an officer or employee. These gifts must be disclosed on other forms.               valued for that sitting or meal. Other food and beverages provided on a
   A "gift" is defined to mean that which is accepted by you or by another in             calendar day are considered a single gift, with the total value of all food
   your behalf, or that which is paid or given to another for or on behalf of you,        and beverages provided on that date being the value of the gift.
   directly, indirectly, or in trust for your benefit or by any other means, for which   •Membership dues paid to the same organization during any 12-month
   equal or greater consideration is not given within 90 days after receipt of the        period are considered a single gift.
   gift. A "gift" includes real property; the use of real property; tangible or
                                                                                         •Entrance fees, admission fees, or tickets are valued on the face value of the
   intangible personal property; the use of tangible or intangible personal
                                                                                          ticket or fee, or on a daily or per event basis, whichever is greater. If an
   property; a preferential rate or terms on a debt, loan, goods, or services,
                                                                                          admission ticket is given by a charitable organization, its value does not
   which rate is below the customary rate and is not either a government rate             include the portion of the cost that represents a contribution to that charity.
   available to all other similarly situated government employees or officials or a
   rate which is available to similarly situated members of the public by virtue of      •Except as otherwise provided, a gift should be valued on a per occurrence
   occupation, affiliation, age, religion, sex, or national origin; forgiveness of an     basis.
   indebtedness; transportation (unless provided to you by an agency in relation         FOR MORE INFORMATION
   to officially approved governmental business), lodging, or parking; food or
                                                                                          The gift disclosures made on this form are required by Sec. 112.3148,
   beverage; membership dues; entrance fees, admission fees or tickets to
                                                                                          Florida Statutes. Questions may be addressed to the Commission on
   events, performances, or facilities; plants, flowers, or floral arrangements;
                                                                                          Ethics, Post Office Drawer 15709, Tallahassee, Florida 32317-5709 or
   services provided by persons pursuant to a professional
                                                                                          by calling (850) 488-7864 or Suncom 278-7864.



                                                                                 Exhibit C                                          CITY 001042
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    CITIZENS' BILL OF RIGHTS

    (A) This government has been created to protect the governed, not the governing. In order to provide the
         public with full and accurate information, to promote efficient administrative management, to make
         government more accountable, and to insure to all persons fair and equitable treatment, the
         following rights are guaranteed:
        1.   Convenient access. Every person has the right to transact business with the City with a
             minimum of personal inconvenience. It shall be the duty of the City Manager and the City
             Commission to provide, within the City's budget limitations, reasonably convenient times and
             places for required inspections, and for transacting business with the City.
        2.   Truth in government. No municipal official or employee shall knowingly furnish false information
             on any public matter, nor knowingly omit significant facts when giving requested information to
             members of the public.
        3.   Public records. All audits, reports, minutes, documents and other public records of the City and
             its boards, agencies, departments and authorities shall be open for inspection at reasonable
             time and places convenient to the public.

        4.   Minutes and ordinance register. The City Clerk shall maintain and make available for public
             inspection an ordinance register separate from the minutes showing the votes of each member
             on all ordinances and resolutions'    listed by descriptive title. Written minutes of all meetings
             and the ordinance register shall be available for public inspection not later than thirty (30) days
             after the conclusion of the meeting.
        5.   Right to be heard. So far as the orderly conduct of public business permits, any interested
             person has the right to appear before the City Commission or any City agency, board or
             department for the presentation, adjustment or determination of an issue, request or
             controversy within the jurisdiction of the City. Matters shall be scheduled for the convenience of
             the public, and the agenda shall be divided into approximate time periods so that the public
             may know approximately when a matter will be heard. Nothing herein shall prohibit the City or
             any agency thereof from imposing reasonable time limits for the presentation of a matter.
        6.   Right to notice. Persons entitled to notice of a City hearing shall be timely informed as to the
             time, place and nature of the hearing and the legal authority pursuant to which the hearing is to
             be held. Failure by an individual to receive such notice shall not constitute mandatory grounds
             for canceling the hearing or rendering invalid any determination made at such hearing. Copies
             of proposed ordinances or resolutions shall be made available at a reasonable time prior to the
             hearing, unless the matter involves an emergency ordinance or resolution.
        7.   No unreasonable postponements. No matter once having been placed on a formal agenda by
             the City shall be postponed to another day except for good cause shown in the opinion of the
             City Commission, or agency conducting such meeting, and then only on condition that any
             person so requesting is mailed adequate notice of the new date of any postponed meeting.
             Failure by an individual to receive such notice shall not constitute mandatory grounds for
             canceling the hearing or rendering invalid any determination made at such hearing.
        8.   Right to public hearing. Upon a timely request of any interested party a public hearing shall be
             held by any City agency, board, department or authority upon any significant policy decision to
             be issued by it which is not subject to subsequent administrative or legislative review and
             hearing. This provision shall not apply to the law department of the City nor to any body whose
             duties and responsibilities are solely advisory.
             At any zoning or other hearing in which review is exclusively by certiorari, a party or his
             counsel shall be entitled to present his case or defense by oral or documentary evidence, to
             submit rebuttal evidence, and to conduct such cross-examination as may be required for a full
             and true disclosure of the facts. The decision of any such agency, board, department or
             authority must be based upon the facts in the record. Procedural rules establishing reasonable
             time and other limitations may be promulgated and amended from time to time.



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        9.   Notice of action and reasons. Prompt notice shall be given of the denial in whole or in part of a
             request of an interested person made in connection with any municipal administrative decision or
             proceeding when the decision is reserved at the conclusion of the hearing. The notice shall be
             accompanied by a statement of the grounds for denial.
        10. Managers' and attorneys' reports. The City Manager and City Attorney shall periodically make a
            public status report on all major matters pending or concluded within their respective
            jurisdictions.
        11. Budgeting. In addition to any budget required by state statute, the City Manager shall prepare a
            budget showing the cost of each department for each budget year. Prior to the City
            Commission's first public hearing on the proposed budget required by state law, the City
            Manager shall make public a budget summary setting forth the proposed cost of each individual
            department and reflecting the personnel for each department, the purposes therefor, the
            estimated millage cost of each department and the amount of any contingency and carryover
            funds for each department.
        12. Quarterly budget comparisons. The City Manager shall make public a quarterly report showing the
            actual expenditures during the quarter just ended against one quarter of the proposed annual
            expenditures set forth in the budget. Such report shall also reflect the same cumulative information
            for whatever portion of the fiscal year that has elapsed.
        13. Adequate audits. An annual audit of the City shall be made by an independent certified public
            accounting firm in accordance with generally accepted auditing standards. The independent City
            Auditor shall be appointed by the City Commission; both appointment and removal of the
            independent City Auditor shall be made by the City Commission. A summary of the results of the
            independent City Auditor's annual audit, including any deficiencies found, shall be made public. In
            making such audit, proprietary functions shall be audited separately and adequate depreciation on
            proprietary facilities shall be accrued so the public may determine the amount of any direct or
            indirect subsidy. Duties, method of selection, and method of compensation of the independent City
            Auditor shall be established by ordinance.
        14. Representation of public. The City Commission shall endeavor to provide representation at all
            proceedings significantly affecting the City and its residents before state and federal regulatory
            bodies.
        15. Natural resources and scenic beauty. It shall be the policy of the City of Miami Beach to conserve
            and protect its natural resources and scenic beauty, which policy shall include the abatement of air
            and water pollution and of excessive and unnecessary noise.
        16. Nondiscrimination. No person shall be deprived of any rights and privileges conferred by law
            because of race, color, national origin, religion, gender, sexual orientation, disability, marital status,
            familial status, or age.
        17. Nondiscrimination in City Employment and Benefits. The City of Miami Beach shall not
            discriminate in employment practices and benefits offered based upon an employee or
            applicant's race, color, national origin, religion, gender, sexual orientation, gender identity,
            disability, marital status, familial status, or age.
        18. Ethics in Government. The public's confidence and trust in City of Miami Beach operations and
            government must meet the most demanding ethical standards and demonstrate the highest
            level of achievement in its adherence to ethics laws. City of Miami Beach officials and
            employees are agents of the people and hold their positions for the benefit of the public —as
            public servants, they are to observe in their official acts a high standard of conduct a nd to
            discharge faithfully the duties of their office regardless of personal considerations and interests,
            recognizing that promoting the public interest and maintaining the respect of the people in their
            government must be of foremost concern. In upholding the values of accountability and
            responsibility, all city officials and employees shall abide by applicable codes of ethical
            conduct, and be subject to all penalties provided for in such regulations.




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          19. Improvement of Public Educational Facilities available to Miami Beach Citizenry. It shall be the
              policy of the City of Miami Beach to cooperate with the Miami -Dade County public schools, and
              with other appropriate governmental agencies, which will strive to improve the quality and
              quantity of public educational facilities available to the citizenry of the City of Miami Beach,
              Florida.
          20. City Assistance to Condominium and Co-op Owners. The City of Miami Beach hereby
              acknowledges the purpose and duties of the City's Administration as assisting condominium and
              co-op owners to navigate through the City's permitting process; to facilitate the resolution of
              other condominium-related issues with other outside agencies; and to act as a liaison between
              condominium or co-op owners, management firms and the City.
    (B) The foregoing enumeration of citizens' rights vests large and pervasive powers in the citizenry of the
        City of Miami Beach. Such power necessarily carries with it responsibility of equal magnitude for the
        successful operation of government in the City. The orderly, efficient and fair operation of
        government requires the intelligent participation of individual citizens exercising their rights with
        dignity and restraint so as to avoid any sweeping acceleration in the cost of government because of
        the exercise of individual prerogatives, and for individual citizens to grant respect for the dignity of
        public office.
    (C) Remedies for violations. In any suit by a citizen alleging a violation of this Bill of Rights filed in the Dade
        County circuit Court pursuant to its general equity jurisdiction, the plaintiff, if successful, shall be entitled
        to recover costs as fixed by the court. Any public official or employee who is found by the court to have
        willfully violated this article shall forthwith forfeit his office or employment.
    (D) Construction. All provisions of this article shall be construed to be supplementary to and not in conflict
        with the general laws of Florida. If any part of this article shall be declared invalid, it shall not affect the
        validity of the remaining provisions.
          (Res. No. 2003-25288, 7-30-03; Res. No. 2003-25391, 7-30-03; Res. No. 2003-25443, 12-10-03; Res.
          No. 2009-27152, 7-22-09; Res. No. 2013-28299, 7-19-13; Res. No. 2013-28302, 7-19-13; Res. No.
          2013-28303, 7-19-13)
    FOOTNOTE(S):

    --- (2) ---
    Editor's note— The following footnote to this section on citizen's bill of rights was adopted with the
    Charter: '"Ordinance" means an official legislative action of the Miami Beach City Commission, which
    action is a regulation of a general and permanent nature and enforceable as a local law. "Resolution"
    means an expression of the Miami Beach City Commission concerning matters of administration, an
    expression of a temporary character, or a provision for the disposition of a particular item of the
    administrative business of the Miami Beach City Commission.




                                                         Exhibit D                                               Page 3
                                                                                                   CITY 001045
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                                                           DATE ISSUED:            Page: 1    SEQUENCE
      _ _ _   MiA \AIBEAC                                  JANUARY 2013            Of: 3       NUMBER:
               CITYWIDE POLICY AND PROCEDURE                                                   HR.18.01
                                                           DATE UPDATED:

                                                           SUBJECT:
                                                           REPORTING ARRESTS, INDICTMENTS
                                                           AND CONVICTIONS
                                                           RESPONSIBLE DEPARTMENT:
                                                           HUMAN RESOURCES

      PURPOSE:

      The City of Miami Beach is committed to protecting the safety, health and well-being of its
      employees, residents, visitors and customers. To further the commitment to a safe
      environment, all employees (full-time, part-time, regular, probationary or temporary) shall be
      required to report all arrests, charges, indictments, convictions, and withholds of adjudication.
      This requirement also applies to contracted personnel and temporary agency employees
      assigned to the City.

      POLICY:

      Once hired, employees arrested or detained and issued a Notice to Appear, or charged with or
      indicted for a criminal offense (felony or misdemeanor), including driving under the influence
      (DUI) and/or other criminal traffic offenses, shall provide written notification to the Human
      Resources Director using the attached Notification of Employee Arrest, Indictment or Criminal
      Conviction Form (hereinafter referred to as "the Form") within two (2) calendar days. If it is
      impossible for the employee to make a timely report due to hospitalization or incarceration
      related to the incident, the Form shall be completed as soon as possible, and in no event more
      than twenty-four (24) hours after the employee's release. The Human Resources Director shall
      advise the employees' Department/Division Director of the employee's arrest, detainment and
      issuance of a Notice to Appear, charge or indictment of an applicable criminal offense.

      Employees shall report to the Human Resources Director, in writing, using the attached Form,
      any conviction, finding of guilt, withhold of adjudication, enrollment in a pretrial diversion
      program, or entering of a plea of guilty or Nolo Contendere for any criminal offense other than
      minor traffic violations within forty-eight (48) hours after the final judgment. The Human
      Resources Director shall advise the employee's Department/Division Director of the employee's
      conviction, finding of guilt, withhold of adjudication, enrollment in a pretrial diversion program, or
      entering of a plea of guilty or Nolo Contendere for any applicable criminal offense.

      Supervisors who become aware of a subordinate who has been arrested, charged, indicted,
      given a Notice to Appear, convicted, found guilty, given a withhold of adjudication, enrolled in a
      pretrial diversion program or entered a plea of guilty or Nolo Contendere for any criminal
      offense shall immediately notify the Human Resources Director.

      VIOLATIONS:

      Pursuant to Rule X of the City of Miami Beach Personnel Rules, the City may take disciplinary
      action against an employee who is arrested or indicted, even if there is no resulting conviction.

      Violation of this policy shall result in disciplinary action based on progressive discipline in
      accordance with the provisions of the applicable collective bargaining agreement and/or
      Personnel Rules.



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                                                          DATE ISSUED:          Page: 2    SEQUENCE
                                                          JANUARY 2013          Of: 3      NUMBER:
                CITYWIDE POLICY AND PROCEDURE                                               HR.18.01
                                                          DATE UPDATED:

                                                          SUBJECT:
                                                          REPORTING ARRESTS, INDICTMENTS
                                                          AND CONVICTIONS
                                                          RESPONSIBLE DEPARTMENT:
                                                          HUMAN RESOURCES

      DEFINITIONS:

      Criminal Traffic Offenses include, but are not limited to:

      1.    Leaving the scene of an accident;
      2.    False information regarding an accident;
      3.    Operating a motor vehicle without a license or while license is suspended;
      4.    Driving while under the influence or with an unlawful blood alcohol level;
      5.    Failure to sign or accept a summons; and/or
      6.    Fleeing and eluding police officers or reckless driving.


      Pre      d

             A by9,4
      H man Resources Director


      Reviewed by:


             al Au i , Office of Budget and Performance Improvement




                                                                                Date




                                                   Exhibit E                             CITY 001047
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                                                             DATE ISSUED:            Page: 3    SEQUENCE
                                                             JANUARY 2013            Of: 3      NUMBER:
               CITYWIDE POLICY AND PROCEDURE                                                     HR.18,01
                                                             DATE UPDATED:

                                                            SUBJECT:
                                                            REPORTING ARRESTS, INDICTMENTS
                                                            AND CONVICTIONS
                                                            RESPONSIBLE DEPARTMENT:
                                                            HUMAN RESOURCES


      NOTIFICATION OF EMPLOYEE ARREST, INDICTMENT OR CRIMINAL CONVICTION FORM

      Date: _______________________

      Employee Name: _______________________________________ ID Number: __________

      Department/Division: ________________________ Title:____________________________

      Type of Incident (check one):

      Arrest:________ Indictment: I Conviction. _________________________ Withhold of Adjudication•

      Other:

      Name of Jurisdiction/Authority:

      Case Number(s): _________

      Nature of Alleged Offense: _




      Date and Time of Arrest, Indictment, Conviction, or Withhold of Adjudication: _____________

      Release Status: __________________________________________________________

      Date of future court appearance if known: ______________________________________

      I acknowledge the above information is factual. In addition, I shall provide written update
      information to my supervisor no later than two (2) calendar days after a change in the status of
      this matter occurs.


      Employee's Signature: ______________________ Date: __________________________


                          ATTACH ADDITIONAL SHEETS IF NECESSARY


                                                     Exhibit E                               CITY 001048
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                              RULE III. THE CLASSIFICATION PLAN

     SECTION 1: PURPOSE: It is the purpose of the Classification Plan to provide an orderly
     inventory and appraisal of Classifications so that the following ends may be attained:

             (a)    Equality of pay on the basis of sufficiently similar duties and responsibilities.

             (b)   Proper pay differences in Classifications which differ significantly in duties and
            responsibilities.

             (c)    Improved recruitment through appropriate definitions of Classifications and the
            establishment of Specifications which include reasonable standards of fitness for
            Appointment or Promotion.

             (d)    Orderly control of personnel changes such as Transfers, Promotions, Demotions,
            leaves of absence and any other personnel changes.

     SECTION 2: CLASSIFICATION SPECIFICATIONS INTERPRETED: The
     Specifications for each of the various Classifications shall have the following force and effect:

             (a)    They are descriptive and explanatory and are not restrictive. The inclusion of a
            particular illustration of duties shall not be held to exclude others not mentioned.

            (b)     In determining the assignment of given Specifications to a particular
            Classification, the Specifications shall be considered as a whole.

             (c)    The Specifications shall not limit the power of the Appointing Authority to
            modify or alter detailed tasks or duties involved in or to be performed within the
            Classification. When there is a substantial change in duties, except for a temporary
            period or by the addition of duties which are incidental, such change shall be reported to
            the Human Resources Director to consider a possible re-Classification.

     SECTION 3: ALLOCATION TO CLASSIFICATION:

            (a)     The Human Resources Director shall ensure that every employee is allocated to a
            Classification established by the Classification Plan.

             (b)   Classifications which have undergone a substantial change in duties and require
            re-Classification, or new duties, shall be so classified by the Human Resources Director
            after consultation with the Appointing Authority as the Human Resources Director
            deems appropriate.

             (c)    The wage rate of re-Classified employees is as follows:




                                      15 - Amended December 12, 2014
                                              Personnel Rules                          CITY 001049
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                   1.     The compensation of such employee shall not be reduced if the
                   individual's then current wage is within the wage scale of the new Classification
                   and the duties of such old and new Positions are similar

                   2.      The compensation of such employee shall be reduced to no higher than
                   the maximum for the lower Classification if the employee is assigned or re-
                   Classified to a lower paying Classification.

             (d)    If a Position is assigned to a higher Classification because of substantially
             changed duties or responsibilities, the Human Resources Director may (1) require the
             incumbent employee to demonstrate fitness by passing a non-competitive examination,
             (2) transfer the incumbent employee to a vacant Position in the Classification to which
             the incumbent employee was formerly allocated, or (3) place the incumbent employee's
             name on the Re-Employment List for the Classification to which the incumbent
             employee was formerly allocated. Allocation to a higher Classification shall be subject
             to the approval of the City Manager.

     SECTION 4: MAINTENANCE OF THE CLASSIFICATION PLAN:

             (a)   New Specifications or changes in Specifications requested by any Appointing
             Authority shall be reported to the Human Resources Director who shall consider the
             proper Classification of such new Position.

             (b)   The Appointing Authority shall report substantial changes in Specifications to
             the Human Resources Director who shall investigate such changes and determine
             whether such changes require re-Classification of the Position.

             (c)    An employee may make a written request to the Human Resources Director at
             any time for a review of the Specifications of the employee's Classification, explaining
             the reasons for the request.      Upon review, the Human Resources Director shall
             determine what action, if any, is appropriate.

     SECTION 5: AMENDMENT OF THE PLAN: The Human Resources Director may survey
     and record the Specifications of all Classifications and, after consultation with the Appointing
     Authorities, may recommend to the Personnel Board changes or modifications to the
     Classification Plan covering all such Classifications. When changes in City organization or
     operations require the creation of new Classifications, substantial changes to an existing
     Classification or other amendments to the Classification Plan, these shall be adopted according
     to the same procedures established for the original adoption of the Plan as set forth in Article
     IV, entitled Civil Service System, in the City Charter.




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                              RULE IV. THE COMPENSATION PLAN

     SECTION 1: PURPOSE: It is the purpose of the Compensation Plan to provide a fair means
     for determining compensation based on Classification.

     SECTION 2: PREPARATION, APPROVAL AND AMENDMENT OF THE COMPEN-
     SATION PLAN: The Human Resources Director shall prepare a Compensation Plan which
     shall consist of a Schedule of Pay for each Classification indicating the minimum and maximum
     range of wages. In arriving at such wage ranges, consideration shall be given to prevailing rates
     of pay in private business and the public sector, the current cost of living, and the City's
     financial condition and policies. The Human Resources Director shall submit the proposed
     Compensation Plan to the City Manager who shall review and adjust the Compensation Plan as
     necessary. The City Manager shall submit the Compensation Plan to the City Commission.
     Amendment of the Compensation Plan with supporting data prepared by the Human Resources
     Director may be submitted by the City Manager at any time to the City Commission for
     approval in accordance with the Classified Salary Ordinance

     SECTION 3: EFFECT OF THE PLAN: The City Commission establishes the Compensation
     Plan under the Classified Salary Ordinance; the Compensation Plan shall constitute the official
     schedule of wages for all Classifications. No person shall be assigned a wage greater than the
     maximum or less than the minimum set forth in the Compensation Plan for that Classification.

     SECTION 4: ADMINISTRATION OF THE COMPENSATION PLAN:

            (a)     The entrance wage for new appointees shall be within the wage range for the
            Classification of Appointment.

            (b)   The re-employment wage rate shall be within the range for the Classification of
            Re-Appointment.

             (c)  When an employee has an Organizational Transfer or Classification Transfer, no
            changes in the employee's wage rate shall be made because of such Transfer.

             (d)   When an employee is promoted to a higher Classification, and the employee's
            wage is lower than the minimum of the higher Classification, then the wage rate shall be
            increased immediately to within the range of the higher Classification.

             (e)    When an employee is demoted to a lower Classification and the employee's
            wage rate is higher than the maximum of the lower Classification, then the wage rate
            shall be decreased immediately to no higher than the maximum wage rate of the lower
            Classification.

             (f)    An annual review of the wage rate of each employee shall be made by the Human
            Resources Director in consultation with the Appointing Authority. Adjustment may be
            made within the wage range after an analysis of the performance evaluation, length of
            service of each employee, and after considering the recommendations of the Appointing



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          Authority, provided that in no case shall the wage rate be increased above the maximum
          established for the Classification and provided further, that such wage rate adjustment
          shall be approved by the City Manager.




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                            RULE V. CERTIFICATION OF PAYROLLS

     SECTION 1: CERTIFICATION: Prior to the payment of any salary, wage, or other
     compensation to any employee for services, the Human Resources Director or designee shall
     certify that the persons named on a payroll, estimate or account have been appointed or
     employed pursuant to and have fully complied with the tern's of the Civil Service Act and these
     Rules.

     SECTION 2: REFUSAL TO CERTIFY: Before Certification, the Human Resources
     Director or designee shall take all appropriate steps to assure that each payroll, estimate, or
     account is prepared in accordance with the provisions of all applicable laws and these Rules. If
     any item fails to comply with such provisions, the Human Resources Director or designee shall
     refuse to certify such item.

     SECTION 3: ILLEGAL APPOINTMENT: Each Appointing Authority shall comply with
     and shall effectuate the provisions of the Civil Service Act and these Rules. No Appointing
     Authority shall select any person for Appointment except in accordance with the Civil Service
     Act and these Rules.




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                         RULE VI. APPLICATIONS AND EXAMINATIONS

     SECTION 1: SCOPE OF EXAMINATIONS: Examinations may include, but are not limited
     to, written tests, oral tests, performance tests, psychological evaluations, evaluations of training
     and experience, and tests of knowledge, manual skills, physical ability, fitness, or any
     combination thereof

     SECTION 2: NOTICE OF EXAMINATIONS:

            (a)    Entrance Examination: The Human Resources Director shall give public notice
            of all competitive examinations for initial entrance into the Classified Service. Such
            notice shall be advertised online at www.miamibeachfl-gov and shall be posted in or
            near the Human Resources Department and also may be distributed among public
            officials, educational institutions, professional and vocational societies, and such other
            individuals and organizations as the Human Resources Director may deem appropriate.
            Such notice shall specify the title and minimum compensation of the Position, the
            minimum Specifications required, the final date on which applications will be received,
            and any other pertinent information consistent with the provisions of these Rules.

            (b)    Continuous Examination:

                     i.     The Human Resources Director may give examinations on a continuous
                    basis for Positions approved by the Personnel Board.

                      ii.    Notice of continuous examinations shall be posted in or near the Human
                    Resources Department and shall be advertised online at vvww.miamibeachagov
                    at least once every ninety (90) days.

             (c)   Promotional Examination: Notice of competitive promotional examinations to
             be held shall be advertised online at www.miamibeachfl.gov for no less than seven (7)
             calendar days. Notice may also be posted in the offices, the departments or divisions
             whose employees are Eligible to compete, and may be given by individual
             communication to employees Eligible to compete in such promotional examination.
             (d)
     SECTION 3: QUALIFICATION REQUIREMENTS OF APPLICANTS: All applicants
     must meet the minimum Specifications for the Classification for which application is made.
     When a position for which an examination is to be held has not yet been allocated to a
     Classification in accordance with these Rules, the minimum qualifications to be required of
     applicants shall be established by the Personnel Director with the approval of the Personnel
     Board.

     SECTION 4: APPLICATIONS: All applications shall be made on forms and in the manner
     determined by the Human Resources Director. The application may require information
     regarding education, experience, references and any other information pertinent for the
     Classification, including a photograph. All submitted applications will be deemed certified by




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     the applicant as true and accurate. Applications must be filed with the Human Resources
     Department within the time limit specified in the public notice.

     SECTION 5: DISQUALIFICATION OF APPLICANTS:

            (a)     The Human Resources Director may refuse to examine an applicant who is not
            employed, or after examination may remove the applicant's name from the resulting
            Eligible List, or refuse to certify for appointment any applicant who: (1) does not meet
            the minimum Specifications established for that Classification; (2) is a qualified
            individual with a disability but is unable to perform the essential functions of the Position
            with or without reasonable accommodation; (3) is currently engaging in the use of illegal
            drugs, illegal use of controlled substances or is under the influence of alcohol, illegal
            drugs, or non- prescribed controlled substances, upon examination after a contingent job
            offer; (4) has been convicted of any crime that, based upon the totality of factors,
            including, but not limited to, the nature of the offense, the recency of the offense and/or
            lack of evidence of rehabilitation, is determined to be job related, involves moral
            turpitude or violence to any person; (5) has been dismissed from public service or
            previous employment for cause; (6) has made a false statement or act of omission of
            material fact in the application; (7) resigned after the institution of disciplinary action; or
            (8) has violated or is in violation of the provisions of these Rules.

            (b)     This section does not apply to an applicant who is a Regular employee of the
            City.

     SECTION 6: PROMOTIONAL EXAMINATIONS: The Human Resources Director shall
     determine when vacancies in the Classified Service may be satisfactorily filled by the
     Promotion of a Regular employee. The Human Resources Director shall conduct promotional
     examinations among such Regular employees determined to be Eligible to compete. The
     Human Resources Director may establish additional qualifications for participation in
     promotional examinations, which shall be announced prior to examination.

     SECTION 7: NON-COMPETITIVE EXAMINATIONS: Non-competitive examinations
     may be administered for Classifications which require peculiar and exceptional qualifications of
     a scientific, managerial, professional, or educational character, or when the character of the
     work, the conditions of employment or the compensation make it impracticable to secure a
     sufficient number of qualified applicants through competitive examination, upon approval by
     the Personnel Board.

     SECTION 8: CONDUCT OF EXAMINATIONS: The Human Resources Director or a
     designee shall be responsible for the conduct of all examinations.

            (a)    Identification of persons taking a competitive written examination may be
            concealed through the use of identification numbers if the Human Resources Director
            deems it appropriate. In such cases, all examinations bearing names of the applicant or
            any other identifying mark other than the assigned number shall be rejected and the
            applicant notified.


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            (b)    The Human Resources Director shall take proper precautions to prevent any
            applicant or other unauthorized person from obtaining questions or any other material to
            be used in any examination in advance unless such questions or other material are
            available to all applicants. The Human Resources Director shall also prevent the
            examiner's identification of any applicant, or any applicant's work in examinations that
            requires the concealment of identity prior to completion of the rating of all applicants'
            work.

            (c)     When an applicant possesses or uses any extraneous, forbidden, or unfair source
            of information to assist in answering the questions or doing the assigned work, the
            examiner shall confiscate all material, document the circumstances, and submit such
            documentation to the Human Resources Director. The Human Resources Director may
            take such action as deemed appropriate including, but not limited to, disciplinary action
            up to and including termination and disqualification of the applicant.

            (d)    If the Human Resources Director determines an examination or portion thereof
            was conducted unfairly to an applicant, such examination or portion thereof may be re-
            administered for the applicant.

     SECTION 9: RATING OF EXAMINATIONS: In all examinations, the minimum grade or
     rating for eligibility on an Eligible List shall be determined by the Human Resources Director.
     Such grade or rating may take into consideration all factors of the examination including, but
     not limited to, credits for training, experience, past service with the City, the application of the
     person, the oral interview, and other verified information.

     SECTION 10: NOTICE OF RESULTS OF EXAMINATION: Unless the information is
     posted, as soon as practicable every applicant shall be notified of his/her final rating, whether
     the minimum possible grade was obtained and his/her relative Position on the Eligible List.
     Within thirty (30) days of the date of the examination, or as otherwise provided for in an
     applicable collective bargaining agreement, the applicant may review the applicant's
     examination score sheets by submitting a written request to the Human Resources Director. If
     an applicant believes that an error has been made in the grading or rating of the applicant's
     examination, the applicant must notify the Human Resources Director within thirty (30)
     calendar days, or as otherwise provided for in an applicable collective bargaining agreement,
     of the establishment of an Eligible List resulting from such examination. If the Human
     Resources Director determines that an error has occurred, the Human Resources Director shall
     correct the error as deemed appropriate.

     SECTION 11: PRESERVATION OF WORK OF APPLICANTS:

            (a)    The applications, examination papers, other work and ratings of applicants who
            receive scores less than the minimum passing grade and who are not placed on the
            Eligible List, shall be retained for a period consistent with governing laws, but may be
            destroyed thereafter at the discretion of the Human Resources Director.




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             (b)       The applications, examination papers and other work and ratings of applicants
            who are placed on the Eligible List shall be retained for the life of the Eligible List, and
            shall be open to inspection by an Appointing Authority for consideration in making
            appointments. Such documents shall be retained for a period consistent with governing
            laws, but may be destroyed thereafter at the discretion of the Human Resources
            Director. If the applicant receives an Appointment, such documents shall become part of
            the personnel file.

     SECTION 12: POSTPONEMENT AND CANCELLATION OF EXAMINATIONS: All
     examinations shall be held upon the dates fixed by the Human Resources Director in the public
     notices; however, the Human Resources Director may postpone any examination because of an
     inadequate number of applicants, non-attendance of examiners or for any other reason. The
     Human Resources Director may also cancel any examination which becomes unnecessary
     because of a change in the personnel requirements.




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                                   RULE VII. ELIGIBILITY LISTS
     SECTION 1: GENERAL PROVISIONS:

             (a) ARRANGEMENT OF LISTS: The names of persons Eligible for Appointment
           to each Classification may be arranged on three (3) Lists: the Re-Employment List, the
           Transfer List, and the Original Entrance List. Additionally, for certain Classifications,
           names of persons eligible for Appointment shall be arranged on a Promotional List.

            (b)   RE-ARRANGEMENT OF ELIGIBLES:
                   1.     If at any time after the creation of an Eligible List, and during the life of
                  such List, the Human Resources Director has reason to believe that any person
                  should be disqualified for Appointment because of incapacity or for any reason
                  provided in Rule VI, Section 5(a), such person shall be notified and given an
                  opportunity to be heard by the Human Resources Director. If such person fails to
                  appear or if upon being heard fails to satisfy the Human Resources Director, the
                  person's name shall be removed and the remaining names shall be re-arranged
                  into their proper place on the Eligible List.

                    2.     Upon the correction of an error in the marking of an examination as
                   provided in Rule VI, Section 10, the name of such person shall be inserted into
                   its proper place on or removed from the Eligible List as determined by the
                   Human Resources Director.

            (c)   REMOVAL OF NAMES FROM LISTS:

                    1.     Each person whose name appears on an Eligible List shall file all contact
                   information including telephone number(s), email and residential address(es) and
                   shall provide written notice of any change of either electronic or residential
                   address, whether temporary or permanent, with the Human Resources Director.
                   Failure to do so may cause the person's name to be removed from the List.

                    2.     The name of any person appearing on any Eligible List may be removed
                   by the Human Resources Director: (a) if the person fails to respond within ten
                   (10) calendar days from the date a notice of certification is sent or issued; (b) if
                   the person declines an appointment without an explanation; or (c) if the person
                   cannot be located in five (5) calendar days. In case of such removal, the Human
                   Resources Director shall notify the person at the last known electronic and
                   residential address. The person may be reinstated on the Eligible List only at the
                   discretion of the Human Resources Director.

     SECTION 2: RE-EMPLOYMENT LISTS: For each Classification, the Human Resources
     Director shall maintain a Re-Employment List consisting of the names of persons who were laid
     off from such Positions as Regular employees. The names of employees who have been laid off
     may also be placed on Re-Employment Lists for such other Classification as the Human
     Resources Director deems appropriate. The order in which names shall be placed on Re-


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     Employment Lists shall be determined by the Human Resources Director after consideration of
     priority, length of service, skills, qualifications, ability to perform the work available,
     performance evaluations, disciplinary history and any other factors the Human Resources
     Director deems relevant. The duration of eligibility of names on Re-Employment Lists shall
     expire individually at the conclusion of one (1) year from the date the employee's name was
     placed on the Re-Employment List.

     SECTION 3: TRANSFER LIST: For each Classification, the Human Resources Director shall
     maintain a general Transfer List consisting of the names of persons who expressed in writing the
     desire to transfer to a particular Classification or Position and who have occupied Positions in
     such Classification as Regular employees or who the Human Resources Director determines are
     otherwise qualified. The names will be placed on the Transfer List in alphabetical order. The
     duration of eligibility of names on the Transfer List may continue from year to year.


     SECTION 4: ORIGINAL ENTRANCE LISTS:

             (a)    Open Competitive Examinations: The Human Resources Director shall
            prepare a List of Eligibles based on Open Competitive Examinations; the names shall be
            placed upon such List in order according to the final earned rating. The final earned
            rating shall be determined by the earned ratings on all phases of the examination
            according to weights for each phase established and announced by the Human
            Resources Director. Whenever it becomes necessary to hold a subsequent examination
            to obtain additional Eligibles from an Original Entrance List, the Human Resources
            Director may combine existing Lists with the new List for the same Classification by
            arranging the Eligibles' names as provided above, without regard to the time of the
            examination. Original Entrance Lists shall expire one (1) year after the posting of the
            results of the original entrance examination, or one (1) year after the date of combining
            Lists provided, however, that the eligibility of individual names on the Original
            Entrance List shall expire eighteen (18) months, which is defined as 547 calendar days,
            from the date the individual's name was placed on the Eligible Lists.

             (b) Non-Competitive Examinations: The Human Resources Director shall prepare
            an Eligible List of all applicants meeting the required minimum Specifications for the
            Classification.

             (c)   Open Continuous Examinations:
                   1.      In those Classifications for which there are continuous examinations, the
                   Eligible List shall be prepared by the Human Resources Director by placing
                   names on such List in order preference according to the final earned rating,
                   without regard to the time of the examinations.

                   2.     The duration of eligibility of names on Continuous Examination Lists
                   shall expire individually at the conclusion of one (1) year from the date the
                   applicant's name was placed on the Continuous Examination List.




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     SECTION: 5: PROMOTIONAL LISTS: After each Promotional Examination, the Human
     Resources Director shall prepare a Promotional List of employees who achieved passing scores
     in the examination, arranged in order of the final rating. The final rating shall be determined by
     the earned ratings on all phases of the examination according to weights for each phase
     established and announced by the Human Resources Director. Whenever it becomes necessary
     to hold subsequent examinations in order to obtain additional Eligibles for a Promotional List,
     the Human Resources Director may combine the existing List with the new List for the same
     Classification by arranging all the Eligibles in order of preference according to the final earned
     rating without regard to the time of examination. The Promotional List shall expire one (1) year
     after the posting of the results of a Promotional Examination, or where Lists have been
     combined, one (1) year after the date of combining the Lists.

     SECTION 6: CERTIFICATION OF ELIGIBLE LIST: An Eligible List shall become
     effective when the Human Resources Director certifies that the List was prepared in
     accordance with these Rules and accurately reflects the final earned ratings in order of the
     persons whose name appear thereon.

     SECTION 7: RESTORATION TO LIST: A Promotional Probationary employee who has
     been laid off during the Probationary Period and reverts to the previous Regular Classification
     shall be restored to the original Position on the Promotional List for the remainder of the one
     (1) year period after the posting of the results of the Promotional Examination, or where Lists
     have been combined, one (1) year after the date of combining the Lists.

     SECTION 8: OTHER RE-EMPLOYMENT/ EMPLOYMENT: Nothing herein prohibits
     an Appointing Authority from re-employing within one (1) year an individual who previously
     held the position and who unless laid off, has not accepted the Leave Settlement, or from
     employing through Open Competition Examination, an individual who previously held a
     position within the City and signed the Leave Settlement. An individual who previously held
     the position within one (1) year or less and who did not accept the Leave Settlement may be
     considered for appointment to the position before the Eligibles on the Transfers List or the
     Eligibles on the Original Entrance List.




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                        RULE VIII. METHODS OF FILLING VACANCIES

     SECTION 1: TYPES OF APPOINTMENTS: All vacancies shall be filled by Appointment
     from Eligible Lists certified by the Human Resources Director, unless the Human Resources
     Director determines that a vacancy in the Classified Service may be filled by other methods as
     specified herein. In the absence of an appropriate List, Temporary Appointments may be
     permitted in accordance with the Civil Service Act and these Rules.

     SECTION 2: NOTICE TO HUMAN RESOURCES DIRECTOR: Whenever vacancies in
     the Classified Service are to be filled, the Appointing Authority shall request certification of
     names from the Eligible Lists and shall notify the Human Resources Director of the title, the
     duties, the number of Positions to be filled, the Specifications, and any other pertinent
     information relating to the Classifications to which Appointments are to be made.

     SECTION 3: CERTIFICATION OF ELIGIBLES:

           (a)    Upon receipt of a request for Certification of Eligible Lists, the Human Resources
           Director shall provide names of Eligibles from Eligible Lists as follows:

                    1.    The Human Resources Director shall certify to the Appointing Authority
                   names from the Re-Employment List before any certification of names may be
                   made from other Lists of Eligibles.

                    2.     If there is no Re-Employment List, the Human Resources Director shall
                   certify to the Appointing Authority names from an Original Entrance List and/or
                   Transfer List.

            (b)    Whenever vacancies are to be filled, the Human Resources Director shall provide
           the names of the Eligible persons ranking highest on the applicable List and certify at
           least two (2) names over and above the number of vacancies to be filled.

            (c)    In the event a List contains an insufficient number of names and the Appointing
           Authority requests that all vacancies be filled from one List and no List contains
           sufficient names, the Appointing Authority may request that an examination be
           conducted to create a List with the required number of names. Temporary Appointments
           may be made pending the creation of an adequate List. If the Human Resources Director
           determines, however, that a Temporary Appointment is inappropriate, the Human
           Resources Director may appoint one or more employees from the Eligibles List.

     SECTION 4: APPOINTMENTS: After such interviews and investigations as deemed
     appropriate, the Appointing Authority shall make a contingent Appointment from the List of one
     or more of the persons certified as Eligible, and shall immediately notify the Human Resources
     Director of the person or persons appointed. If a candidate accepts an Appointment and fails to
     present for duty within five (5) calendar days after instructed to do so, the candidate shall be
     deemed to have declined the Appointment, unless otherwise provided by law.




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     SECTION 5: EMERGENCY APPOINTMENTS: In the event of a dire emergency, if the
     Human Resources Director is unavailable or time is of the essence, the Appointing Authority
     may select and appoint persons without regard to the Rules governing Appointments, but in no
     case shall such Emergency Appointments continue longer than thirty (30) calendar days.
     Successive Emergency Appointments of the same person shall not be made, and no person shall
     serve under Emergency Appointment longer than thirty (30) calendar days in any twelve (12)
     month period. Written notice of the Emergency Appointments shall be given immediately by
     the Appointing Authority to the Human Resources Director.

     SECTION 6: SUBSTITUTE APPOINTMENTS: Whenever it becomes necessary to fill the
     Position of an employee who is absent from duties on a leave of absence, and the duration of
     the leave and/or conditions of work are such that in the opinion of the Human Resources
     Director it is impracticable to use Temporary Appointments, the Human Resources Director
     may approve an appointment on a Substitute basis to fill the vacancy during the entire period of
     the leave. If an Eligible List exists for the Classification to which the vacant Position belongs,
     selection shall be made from this Eligible List in the same manner as provided for Probationary
     appointments; if no such Eligible List exists, the Human Resources Director shall decide
     whether qualifying or competitive tests shall be conducted. Any person so appointed shall be
     compensated within the pay range provided for the Classification to which the vacant Position
     belongs, but no Classification Service rights shall accrue to such substitute employee in such
     Classification or Position.

     SECTION 7: APPOINTMENT TO UNCLASSIFIED SERVICE:

             (a) When any Regular employee in the Classified Service shall be appointed to an office
             or position in the Unclassified Service, his/her position in the Classified Service shall be
             considered vacated and shall be filled by the regular procedures which apply to filling
             such positions on a permanent basis. The Regular employee so appointed to the
             Unclassified office or position shall retain his/her Classified Service title and status.

             (b) If such employee is separated from his/her Unclassified office or position, he/she
             shall be returned to the position and classification in the Classified Service which he/she
             held immediately prior to becoming an Unclassified employee with compensation
             within the salary range then prevailing for such classification.

             (c) In the event the Classified Service classification of such employee has been
             abolished or otherwise discontinued, such employee shall be placed in a Classified
             position at the same level as his/her Classified Service classification for which, in the
             opinion of the Personnel Director, as approved by the Personnel Board, he/she possess
             at least minimum qualifications. If there is no classification at such level, he/she shall
             be placed in a Classified position at the next lower level for which, in the opinion of the
             Personnel Director, as approved by the Personnel Board, he/she possesses at least
             minimum qualifications. In either of such events, said employee shall be placed in such
             Classified position with compensation within the salary range then prevailing for such
             classification but not lower than the salary range held by such employee when
             appointed to the Unclassified office.


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                               RULE IX. PROBATIONARY PERIOD

     SECTION 1: PURPOSE: The Probationary Period is an intrinsic part of the Appointment
     process and shall be used to closely evaluate the employee's performance. A Probationary
     employee who in the sole discretion of an Appointing Authority does not satisfactorily meet all
     Specifications may be rejected by the Appointing Authority.

     SECTION 2: DISCIPLINARY ACTION, SUSPENSION, REJECTION OR REMOVAL
     DURING PROBATIONARY PERIOD: During the Probationary Period, an employee may
     be subject to Rejection or disciplinary action including, but not limited to, Suspension,
     reduction in pay or Classification, or Removal at any time without any prior notice or warning
     in the sole discretion of the Appointing Authority. Notice of Suspension, reduction in pay or
     Classification, or Removal must be given to the employee and the Human Resources Director.
     A Probationary employee has no right to appeal Rejection, any disciplinary action, or Removal
     by the Appointing Authority for any reason whatsoever. The Personnel Board has no
     jurisdiction over Probationary employees. In the case of a Rejection, the Human Resources
     Director shall determine whether or not the Probationary employee should be restored to an
     Eligible List provided, however, a Probationary employee who has been rejected a second time
     or removed shall not be restored to an Eligible List.

     SECTION 3: REPORTS DURING THE PROBATIONARY PERIOD: The Human
     Resources Director may require the Appointing Authority to submit a performance evaluation
     of the Probationary employee.

     SECTION 4: REGULAR APPOINTMENT AFTER PROBATIONARY PERIOD:

           (a)    All Appointments are subject to successful completion of six (6) months
           Probationary Period, except as provided in these Rules.

           (b)    The Probationary Period for the Classifications of Firefighter I, Communications
           Supervisor, Dispatcher, Dispatcher Trainee, and Code Compliance Officer I shall be
           twelve (12) months.

                  The Probationary Period for Police Officer and Police Officer trainees shall be
           eighteen (18) months. The Probationary Period for the Classifications of Police Officer
           and Police Officer Trainee may be extended for an additional period of time up to
           eighteen (18) months.

           (c)     The Original Entrance or Promotional Probationary Period for the following
           Classifications shall be nine (9) months:

                   Sergeant of Police
                   Lieutenant of Police
                   Communications Operator



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                  Communications Technician I
                  Identification Technician I
                  Identification Technician II
                  Identification Officer
                  Firefighter II
                  Fire Lieutenant
                  Fire Captain
                  Complaint Operator II

           (d)    A Probationary employee who is laid off or who resigns without pending
           disciplinary action after serving four (4) or more months of the Probationary Period, and
           who is re-appointed to the same Classification within one (1) year from the date of such
           separation, shall be given full credit for such prior Probationary time towards
           completion of the Probationary Period. In no event, however, is the Probationary Period
           to be served after such Re-Appointment to be for less than one (1) calendar month.

     SECTION 5: PROBATIONARY PERIOD AFTER HAVING ATTAINED REGULAR
     STATUS:

           (a)   An employee rejected or laid off during the Probationary Period following a
           Promotional Appointment to a higher Classification shall be re-appointed to the Position
           from which the employee was promoted, even if the Layoff of the employee currently
           occupying the former Position is necessary.

           (b)    An employee rejected during the Probationary Period following a Promotional
           Appointment to a higher Classification for reasons which, in the opinion of the Human
           Resources Director, constitute sufficient cause for Removal as provided in Rule XI,
           Sections 2 and 6, shall be removed. If such employee is not part of a collective
           bargaining unit, the employee shall have the right to appeal such Removal from the City
           to the Personnel Board, but such employee shall not have the right to appeal the
           Appointing Authority's deteiiiiination that the employee did not pass probation.

     SECTION 6: ABSENCES DURING PROBATIONARY PERIOD:

           (a)     All absences during a Probationary Period shall extend the date of completion of
           the Probationary Period in time equal to the amount of time absent, except that the first
           thirty (30) days of an absence for non-service connected injury or illness or the first
           sixty (60) days of an absence for a service connected injury shall not extend the date of
           completion of the Probationary Period if the employee is on approved FMLA leave, or if
           the employee provides to the Human Resources Director proper medical evidence as to
           the existence of an illness or injury within two (2) weeks after the injury or illness
           commences, or as otherwise required by USERRA or other law.

           (b)     During an Original Entrance Probationary Period, any consecutive absence in
           excess of three (3) weeks, except for an approved absence in connection with illness or
           injury as provided in sub-paragraph (a) above or an absence which is otherwise provided


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           for by law, shall automatically cancel the Probationary Appointment. If, however, the
           Appointing Authority submits a written request to the Human Resources Director and
           obtains the Human Resources Director's approval, the appointee may be retained. The
           Probationary Period shall continue from the date of the return to duty if absence is due to
           military leave under USERRA. In the event such consecutive absence exceeds ninety
           (90) days, the Probationary Period shall be automatically terminated, except for an
           approved absence, illness or injury as provided in sub-paragraph (a) above or as
           otherwise required by USERRA or other law.

             (c)     During a Promotional Probationary Period, any consecutive absence in excess of
           six (6) weeks, except for an approved absence in connection with an illness or injury as
           provided in sub-paragraph (a) above or an absence which is otherwise provided for by
           law, shall automatically terminate the Probationary Appointment. If, however, the
           Appointing Authority submits a written request to the Human Resources Director and
           obtains the Human Resources Director's approval, such appointee may be retained. The
           Probationary Period shall continue from the date of the return to duty if absence is due to
           military leave under USERRA. In the event such consecutive absence exceeds six (6)
           months, the Probationary Period shall be automatically terminated, except for an
           approved absence, illness or injury as provided in sub-paragraph (a) above or as
           otherwise required by USERRA or other law.

     SECTION 7: NON-APPLICABILITY OF PART-TIME SERVICE: Service in a part time
     capacity does not apply to, nor lessen the length of, the Probationary Period for that position.




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                               RULE X. DISCIPLINARY ACTIONS

    SECTION 1: PURPOSE: Any Appointing Authority may take disciplinary action against a
    subordinate employee at any time for sufficient cause which will promote the efficiency of the
    City as determined by the Appointing Authority provided, however, that any action involving
    loss of time, pay or benefits, must be submitted in advance to the Human Resources Director
    who will make a recommendation to the City Manager as to whether or not the disciplinary
    action should be approved, rejected or modified.

    SECTION 2: GROUNDS FOR DISCIPLINARY ACTION:

           (a)    Sufficient cause is required for the Human Resources Director to issue an Intent to
          Discipline. The Intent to Discipline shall list the grounds of alleged misconduct which, if
          sustained, will result in Final Action to Discipline including reduction in pay, Suspension,
          Demotion and/or Removal. Grounds for misconduct include, but are not limited to, if an
          employee:

                  1.     Has been convicted of a criminal offense involving moral turpitude,
                 referred to a pre-trial intervention or diversion program, pled guilty, entered an
                 admission of guilt or otherwise received a withhold of adjudication, or has been
                 arrested for any criminal offense or of conduct involving moral turpitude.

                  2.    Has willfully violated any of the provisions of the Civil Service Act or of
                 these Rules or Work Rules, or has attempted to or does commit any act or acts
                 intended to nullify any of the provisions thereof

                  3.     Has been guilty of conduct unbecoming an employee of the City.

                  4.     Fails to report to the Human Resources Director, in writing, any
                 conviction, finding of guilt, withhold of adjudication, enrollment in a pretrial
                 diversion program, or entrance of a plea of guilty or nolo contendere for any
                 criminal offense other than minor traffic violation within forty-eight (48) hours
                 after the final judgment.

                  5.   Fails to report knowledge of or reasonable basis of suspicion of another
                 employee's theft of time, money, property, fraud, embezzlement or corruption.

                  6.     Has violated any lawful and reasonable regulation or order, or failed to
                 obey any lawful and reasonable directive from a superior where such violation or
                 failure to obey has resulted or may have resulted in loss or injury to the City, the
                 public, or to persons or property in the custody of the City.

                  7.     Has engaged in any of the following:




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                          (a)     Has been intoxicated or under the influence of intoxicants or
                          narcotics while on duty or while wearing a City furnished uniform, whether
                          on or off duty.

                          (b)      Has imbibed any amount of any intoxicant, narcotic, alcohol,
                          illegal drug, or controlled substance, has tested positive for any intoxicant,
                          alcohol, narcotic, illegal drug or controlled substance, or has used any
                          amount of any narcotics, alcohol, illegal drug, or controlled substance,
                          during duty hours if the employee is a sworn Police Officer, an employee
                          of the Fire Division detailed to fire fighting apparatus, or an employee
                          responsible for the operation of an automobile, truck, tractor, bulldozer,
                          roadgrader, roadroller, crane, or other such power equipment.

                          (c)     Has failed to report a citation, arrest or notice to appear for any
                          moving violation if the employee is a sworn Police Officer, an employee of
                          the Fire Division detailed to fire fighting apparatus, or an employee
                          responsible for the operation of an automobile, truck, tractor, bulldozer,
                          roadgrader, roadroller, crane, or other such power equipment.

                          (d)      Has tested positive or is in possession and/or is using, dispensing, or
                          selling any illegal drug or controlled substance not prescribed by a licensed
                          physician, whether on or off duty.

                          (e)    Has tested positive or used and/or possesses alcohol during duty
                          hours.

                   8.    Has a mental, psychological or physical condition which prevents the
                  employee from performing the essential functions of the Position with or without
                  reasonable accommodation.

                  9.      Has been insubordinate.

                   10.    Has been offensive in conduct or language toward the public, City officers,
                  superiors, or toward other employees.

                   11.    Has been incompetent, negligent or inefficient and/or has received two
                  consecutive overall performance evaluations of Improvement Needed,
                  Unsatisfactory, or any combination thereof.

                  12.     Has been careless, inefficient, or negligent with the time, service equipment
                  materials, property or anything of value of the City.

                   13.    Has stolen, misplaced or misused time, services, equipment, materials,
                  property or any other thing of value belonging to the City, including the authority
                  accorded by the employee's Position.




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                 14. Has threatened to use, attempted to use or used political influence in
                securing Promotion, leave of absence, transfer or change of Classification, pay or
                character of work.

                15. Has violated the provisions of the Conflict of Interest Ordinance of the
                City of Miami Beach.

                 16. Has falsified a time record or failed to report absence from duty in
                accordance with prescribed procedures.

                 17. Has been absent from duty without approved leave of absence from the
                Appointing Authority, or contrary to prescribed procedures, or has failed to report
                after a leave of absence has expired, or within a reasonable time after such leave
                of absence has been revoked or cancelled, if an extension of such is not otherwise
                required by law.

                 18. Has been excessively absent or habitually tardy or has refused to perform a
                reasonable amount of work when directed to do so.

                 19. Has engaged in any activities prohibited under the provisions of Rule I,
                Section 3 of these Rules.

                 20. Has been antagonistic in attitude toward superiors or other employees,
                criticizes orders or rules issued and policies adopted by superiors, or interferes
                with the proper coordination of the City's employees to the detriment of efficient
                public service.

                 21. Has been guilty of actions which amount to disgraceful conduct while on
                or off duty.

                 22. Has willfully refused or failed to appear before any grand jury, court, or
                judge, or officer, board or body authorized by law or the City Commission to
                conduct any hearing or inquiry relative to the official duties of such employee, or
                has refused and continues to refuse to answer any related questions concerning
                official duties which have been asked of the employee as part of an official
                hearing or inquiry by the Appointing Authority, the City Manager or by any other
                person authorized by the City Commission or the City Manager to conduct such
                hearing or inquiry, unless refusal to do so is otherwise protected by law.

                 23. Has been guilty of gross negligence or gross inefficiency in the
                performance of duties, where such negligence or inefficiency has resulted in loss
                or injury to the City, the public, or to persons or property affected thereby.

                 24. Has engaged in or failed to report unlawful harassment, discrimination or
                retaliation.




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                  25.    Has engaged in or failed to report any violation of law or ethics.

                  26.    Has violated the provisions of Department rules.

                 27. Has made a false statement or material omission in the
    application for employment, promotion, advancement wage increase, or other term
    or condition of employment; has made a false statement or material omission
    during an investigation; has made a false statement or material omission in any
    documentation.

                     28. Has had an excessive number of accidents resulting in personal injury,
    injury to self, others or property, or other violation of safety practices.

                   29. Has a Position that requires the operation of a motor vehicle in the
    performance of duties, is a sworn police officer, an employee of the Fire Division,
    detailed to fire fighting apparatus, or an employee responsible for the operation of an
    automobile, truck, tractor, bulldozer, roadgrader, roadroller, crane, or other power
    equipment, and has had driver's license or driving privileges suspended or revoked;
    has failed to wear corrective lenses as required by Rule XVII, Medical and Physical
    Standard.

                    30. Has a Position requiring a valid driver's license or valid specialized
    license, and has failed to obtain or maintain such license or allowed it to lapse or has had
    restrictions imposed by operation of law.

                   31. Has engaged in a physical altercation outside the lawful exercise of duties
    with either other City employees or the general public, regardless of provocation.

                  32.    For any other just cause.

    SECTION 3: REDUCTION IN PAY:

           (a)   Subject to approval by the City Manager, an Appointing Authority may reduce
          the wage of an employee for disciplinary purpose or when the employee's performance
          does not conform to the required Specifications, Job Description, Work Rules,
          Department Rules or for other just cause. Any such reduction must be submitted in
          advance to the Human Resources Director who will make a recommendation to the City
          Manager as to whether or not the reduction should be approved, denied or modified.

           (b)    In the event that an employee's wage is reduced for disciplinary purpose, such
          reduction in pay shall not exceed five percent (5%) of the wage of such employee, and
          shall continue for the length of time the employee remains in that Position; however, the
          reduction may be adjusted by the Appointing Authority, with the approval of the City
          Manager, at any time.




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          (c)    The procedures established by Rule XIII Appeals from Disciplinary Action shall
          apply in case of appeals from reduction in pay of classified employees not in a collective
          bargaining unit.

    SECTION 4: DEMOTIONS: A reduction of employment status from a higher Classification to
    a lower Classification is a Demotion.

          (a)     Subject to approval by the City Manager, an Appointing Authority may Demote an
          employee for disciplinary purpose or when the employee's performance does not conform
          to the required Specifications, Job Description, Work Rules, Department Rules or for other
          just cause. Any request for a Demotion must be submitted in advance and in writing to the
          Human Resources Director who will make a recommendation to the City Manager as to
          whether or not the disciplinary action should be approved, denied, or modified.

          (b)     The Human Resources Director may place an employee to a vacant Position at the
          request of such employee, after an investigation as the Human Resources Director may
          deem necessary. The Human Resources Director may arrange the placement of the
          employee to a vacant Position under another Appointing Authority. However, no such
          placement will be made unless approved by both the Human Resources Director and the
          prospective Appointing Authority. Notice of such proposed placement shall be given to
          the current Appointing Authority by the Human Resources Director at least ten (10) days
          before the placement becomes effective, unless said notice is waived in writing by the
          current Appointing Authority.

          (c)     The Human Resources Director, with the consent of the prospective Appointing
          Authority, may demote an employee to a vacant Position as a substitute for a Layoff. The
          City Manager may require such action if the City Manager determines it is in the best
          interest of the City. Any employee so demoted shall be placed on the Re-Employment
          List for the Classification from which the employee was demoted. An employee shall not
          be demoted to a Position for which the employee does not possess the minimum
          Specification, as determined by the Human Resources Director.

          (d)    The procedure established by Rule XIII, Appeals from Disciplinary Action, shall
          apply in case of appeals from Demotions made for disciplinary actions of classified
          employees not in a collective bargaining unit.

    SECTION 5: SUSPENSIONS:

          (a)    Subject to approval by the City Manager, an Appointing Authority may Suspend
          an employee for disciplinary purpose or when the employee's performance does not
          conform to the required Specifications, Job Description, Work Rules or department rules
          or for other just cause. Any Suspension must be submitted in advance to the Human
          Resources Director who will make a recommendation to the City Manager as to whether
          or not the disciplinary action should be approved, denied, or modified.




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          (b)    Subject to the approval by the City Manager, an Appointing Authority may
          suspend an employee at any time whenever an employee has been indicted, informed
          against, or otherwise charged in any state or federal court and the Human Resources
          Director determines the matter to be job related. Such suspension may continue until the
          acquittal or conviction of such employee or until the case against the employee has been
          otherwise resolved. However, if the charges, indictment, and/or information are dropped,
          or otherwise dismissed by the prosecuting authority, the employee will be reinstated and
          entitled to recover all lost wages and benefits suffered as a result of such suspension,
          unless the City has otherwise taken disciplinary action, up to and including termination,
          based upon such conduct or other conduct or violation of rules contained herein.

          (c)    If an employee requests a continuance based upon an indictment, information or
          other charges and the continuance is granted, the employee shall waive any and all rights
          to wages and all other benefits and terms and conditions of employment lost by reason of
          such continuance from the date of said continuance until the date of acquittal.

          (d)   The procedure established by Rule XIII, Appeals from Disciplinary Action shall
          apply in case of an appeal from Suspension made for disciplinary action of classified
          employees not in a collective bargaining unit.

    SECTION 6: REMOVALS:

          (a)    Subject to approval by the City Manager, an Appointing Authority may remove an
          employee for disciplinary purpose or when the employee's performance does not conform
          to the required Specifications, Job Description, Work Rules or department rules or for
          other just cause. Any Removal must be submitted in advance to the Human Resources
          Director who will make a recommendation to the City Manager as to whether or not the
          disciplinary action should be approved, denied, or modified.

          (b)   The procedures established by Rule XIII, Appeals from Disciplinary Action shall
          apply in case of appeals from Removals of classified employees not in a collective
          bargaining unit.




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                    RULE XI. TRANSFERS, ASSIGNMENTS,
    PROMOTIONS SECTION I: TRANSFERS:

           (a)    Classification Transfer: The Transfer of an employee from a Position in one
           Classification to a Position in another Classification for which the employee is qualified
           and for which the same maximum rate of pay has been established, is called a
           Classification Transfer and may be made by the Appointing Authorities involved and the
           Human Resources Director, or whenever the City Manager deems such action to be for
           the good of the Service. No Classification Transfer which requires an employee to
           Transfer from the employee's existing regular pension system or relief and pension fund
           to any other, or which renders such employee ineligible to remain in or participate in
           benefits of the employee's existing regular pension system or relief and pension fund,
           shall be made without the written consent of the employee.

           (b) Organizational Transfer: The Transfer of an employee from a Position in one
           Classification to another Position in the same Classification under another Appointing
           Authority is called an Organizational Transfer, and may be made with the consent of the
           Appointing Authorities involved and the Human Resources Director.

    SECTION 2: OUT OF CLASSIFICATION ASSIGNMENT: The assignment for a temporary
    period from a Position in one Classification to a Position in another Classification having a
    higher maximum rate of compensation, or with the consent of the affected employee to another
    Classification having a lower maximum rate of compensation under the same Appointing
    Authority, is an Assignment and may be made in order to bring about a better distribution of
    persons in the Service to effect economies or to provide training.

           (a)    Any employee so assigned to a higher Classification will receive the pay of the
           higher Classification.

           (b)    Any employee so assigned to a lower Classification will maintain the current pay
           or not be decreased.

           (c)    The time an employee spends in such Assignment shall not be used for computing
           any rights in the higher Classification to which the employee may be so assigned.

    SECTION 3: PROMOTIONS: An increase in employment status from a Position in a lower
    Classification to a Position in a higher Classification is a Promotion. No Promotion shall be
    made except as a result of examination as provided in these Rules. However, the Human
    Resources Director may eliminate competitive examinations in specific categories as set forth in
    Section 10G of Article IV of Subpart B of the Related Special Laws of the Code of City of
    Miami Beach. If competitive examinations are eliminated, the Promotion shall be based upon
    the Specifications, skill, ability, qualifications, length of service, performance evaluation,
    disciplinary history, and such other factors as may be deemed relevant by the Human Resources
    Director.




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                           RULE XII. RESIGNATIONS AND
     LAYOFFS SECTION 1: RESIGNATIONS:

           (a)    Any person who voluntarily withdraws as a Regular employee in the Classified
           Service, whose service has been satisfactory, and withdraws from the Service after
           submitting a written resignation, while in compliance with all attendant requirements of
           the Appointing Authority and the Human Resources Director, and who further declines
           to accept the Leave Settlement, may be re-employed.

           (b)    Any person who voluntarily withdraws as a Regular employee in the Classified
           Service, whose service has not been satisfactory or who fails to submit a written
           resignation or who fails to comply with the attendant requirements of the Appointing
           Authority and the Human Resources Director or who accepts the Leave Settlement,
           shall forfeit all Civil Service rights and may apply for employment only through
           Original Entrance procedures.

           (c)    Employees who resign from employment after the institution of disciplinary
           action are subject to disqualification from re-employment under Rule VI, Application
           and Examination, Section 5.

     SECTION 2: LAYOFFS:

           (a)     An Appointing Authority may reduce the number of employees or Positions in
           any Classification because of lack of work, lack of funding, changes in job duties,
           changes in organization, or for other legitimate reasons. Upon investigation and
           recommendation by the Human Resources Director, the City Manager shall determine
           whether only the employees of the Appointing Authority concerned shall be considered
           for Layoff or whether the Service in whole or in part shall be considered. The Human
           Resources Director shall inform the Appointing Authority as to the order in which
           employees shall be laid off The employee's length of service, skills, qualifications,
           ability to perform the work available, performance evaluations, disciplinary history, and
           any other factors deemed relevant will be considered in determining the order of Layoff.
           A written notice of Layoff containing the reasons therefore shall be provided to each
           employee or mailed electronically or otherwise to the last known address. In
           determining the order of Layoff in each Classification, Temporary employees shall be
           considered as a separate entity and the length and relative value of service of the
           employees in such Temporary status shall be comparable only among such Temporary
           employees of such Classification.

           (b)    No Regular or Probationary employee in a Classification shall be laid off so long
           as any Emergency or Temporary employee is employed in the same Classification, or any
           other Classification to which Transfers can readily be made in the opinion of the City
           Manager. Furthermore, all employees in a Classification who have not completed an
           Original Probationary Period shall be laid off before any Regular employees in the same
           Classification. In the event of further reductions in force, employees will be laid off or



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          reduced in Classification in accordance with length of service, skills, qualifications,
          ability to perform the work, performance evaluations, disciplinary history, and any other
          factors the Human Resources Director deems relevant. When two or more employees
          have equal skill, qualifications, ability to perform the work, which include performance
          evaluations and disciplinary history, the employee with the least length of service will be
          the first laid off or demoted. No employee shall be laid off or demoted without receiving
          one week's notice prior to the effective date of Layoff or Demotion.

          (c)    When deemed to be in the best interests of the City, the Human Resources
          Director may require that employees in a lower Classification be laid off when
          employees in a higher Classification who are willing and qualified for the work of the
          lower Classification would otherwise have to be laid off

          (d)    Length of service shall be terminated when a Regular employee:

                  I. resigns;

                  2. is laid off for more than one year;

                  3. is terminated for cause;

                  4. retires or is retired;

                  5. fails to return to work at the expiration of any approved leave of absence,
                  unless otherwise prohibited by law; or

                  6. fails to report to work within seven (7) calendar days after the date of written
                  notice of recall to work after a Layoff given by the City by electronic, certified
                  or registered mail to the employee at the last address appearing on the records in
                  Human Resources. It shall be the employee's responsibility to provide the
                  Human Resources Director with a current residential and email address.

          (e)     Any person who has served satisfactorily as a Regular employee, and who is laid
          off as provided in this Section, shall be placed on the Re-Employment List. The
          employee's length of service shall not be discontinued, unless the employee shall request
          in writing to be removed from such Re-Employment List, or unless such Re-Employment
          List shall expire by limitation; then, the employee shall forfeit all Civil Service rights and
          shall be Eligible for future employment only through Original Entrance procedures. When
          there is a recall from the Re-Employment List, employees laid off will be recalled in the
          order determined by the Human Resources Director after consideration of length of
          service, skills, qualifications, ability to perform the work, performance evaluations,
          disciplinary history, and any other factors the Human Resources Director deems relevant.




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                      RULE XIII. APPEALS FROM DISCIPLINARY ACTION
     SECTION 1: RIGHTS OF REGULAR EMPLOYEES:

            (a)   Whenever the Appointing Authority of any Regular employee determines that
           there are reasons for reduction in pay, Suspension, Demotion or Removal of such
           employee, the Appointing Authority shall notify the Human Resources Director, the City
           Manager and the City Attorney in writing prior to the intended action.

            (b)    The written notice of intent required by paragraph (a) above shall state the type
           of disciplinary action to be considered, the reasons therefor and shall be given to the
           employee or emailed or mailed to the employee's place of residence. A copy of such
           notice shall be submitted to the Human Resources Director.


            (c)    If an employee is released from duty by the Appointing Authority pending the
           investigation for disciplinary action, the Appointing Authority shall provide written
           notice to the Human Resources Director, the City Manager, the City Attorney, and the
           employee within 24 hours after such release from duty.

     SECTION 2: REQUEST FOR APPEALS HEARING: A Regular employee not covered by
     a collective bargaining agreement may appeal from the above disciplinary action within ten
     (10) calendar days after the delivery or mailing of such written notice by filing a written request
     for a hearing before the Personnel Board with the Human Resources Director. The written
     request shall contain the employee's name, Position; the disciplinary action the employee is
     appealing, and a brief explanation as to why the employee is appealing the disciplinary action.
     The employee may also attach supporting documents.

     SECTION 3: APPEALS HEARING FOR DISCIPLINARY ACTION BY REGULAR
     EMPLOYEES:

            (a)   Within ten (10) calendar days after receipt of a request for an appeals hearing, the
           Personnel Board shall fix a time and place for a public appeals hearing within thirty (30)
           calendar days thereafter. Written notice of such time and place shall be delivered or
           mailed promptly to the employee, the Appointing Authority and the City Manager.

            (b)   A quorum of the Personnel Board consists of three (3) Associate Members and
           one (1) Employee Member. The Chair or acting Chair shall grant a continuance at the
           time of hearing for lack of quorum or emergency. The Chair may grant a continuance to
           either party for good and sufficient cause. Absent an emergency, such request for
           continuance should be received in writing by the Human Resources Director, with a
           copy to the opposing party, no less than seven (7) calendar days prior to the date of the
           scheduled hearing.

            (c)   The Personnel Board may call any person to appear or request the production of
           any records relevant to the appeal prior to or at the hearing.



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           (d)    The current or former Appointing Authority or a representative designated by
           Human Resources shall have the right to appear at such hearing and to be represented by
           counsel appointed by the City.

           (e)    The employee shall have the right to appear at such hearing and to be represented
           by an attorney licensed to practice in the State of Florida.

           (f)    An appeal for hearing from disciplinary action shall not be subject to formal rules
           of evidence. However, the findings of the Personnel Board shall be based upon
           competent and substantial evidence of record.

           (g)     The Appointing Authority shall have the burden of presenting evidence to prove
           the allegations supporting the disciplinary action.

           (h)    The employee shall have the right to present evidence to refute such allegations.

           (i)    Each party shall have the right to make an opening statement.

           (j)    Rulings on objections and questions of procedure or law shall be made by the
           Chair. Before making the ruling, the Chair or any member of the Personnel Board may
           request an opinion from the City Attorney for the Personnel Board.

           (k)    After both the Appointing Authority and the employee have presented their
           testimony and evidence, the Personnel Board shall receive argument in summation. The
           Appointing Authority may reserve time for rebuttal.

           (1)    After the completion of closing argument, the Board shall hold an open executive
           session to consider the testimony and evidence presented before the Board to determine
           the truth or untruth of the charges. At such open executive session only the members of
           the Board and the Attorney for the Board, at the Board's request, shall be heard.

           (m)     The Chair shall entertain a motion, duly seconded, to grant or deny the appeal.
           Each Associate Member shall be entitled to one (1) vote; the three Employee Members
           shall be entitled to a total of one vote, voting as an Employee Member unit. The Human
           Resources Director as the Secretary of the Personnel Board shall then call the roll. A
           majority vote of those members present shall be required to grant the appeal and
           overturn the disciplinary action. In the event of a tied vote, the appeal shall be denied
           and the disciplinary action shall remain.

           (n)     The Personnel Board may request written submissions of proposed findings of
           fact and conclusions of law.

           (o)     Within five (5) business days after the close of the hearing, the Personnel Board
           shall report its findings in writing. The Human Resources Director shall promptly deliver
           or mail a copy of such findings to the Appointing Authority and to the employee.




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     SECTION 4: FAILURE OF PARTIES TO APPEAR: If the employee fails to appear, the
     Personnel Board shall deny the appeal unless the employee demonstrates cause for non-
     appearance within ten (10) calendar days of the denial. If the Appointing Authority or the
     Appointing Authority designee fails to appear, the Personnel Board may hear the employee's
     evidence and render a decision thereon or may continue the hearing.

     SECTION 5: RESIGNATION BEFORE HEARING: If the employee resigns before the
     Personnel Board issues its findings, the appeal shall be dismissed. Any person resigning under such
     circumstances shall forfeit all Civil Service rights.

     SECTION 6: COMPENSATION WHEN AN EMPLOYEE PREVAILS: If the employee
     prevails at an appeals hearing from the disciplinary action and the disciplinary action is overturned
     by the Personnel Board, the employee shall recover any wages and benefits lost by reason of such
     disciplinary action. However, under no circumstances shall the employee be entitled to recover
     attorney's fees.

     SECTION 7: PARTICIPATION IN EXAMINATIONS WHEN AN EMPLOYEE.
     PREVAILS: If the employee is precluded from participating in any examination solely because
     of the disciplinary action at the time such examination is held, and the employee prevails at the
     appeals hearing, then at the employee's request, the employee shall be given an individual
     examination of the same degree of difficulty. If the employee passes such examination, the
     employee's name shall be placed into the existing Eligible List in order of the final earned rating,
     and the employee's Eligibility shall continue for the life of the existing List.




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                       RULE XIV. ATTENDANCE, LEAVE, AND ABSENCE
     SECTION 1: ATTENDANCE:

            (a)    HOURS OF WORK: Administrative regulations pertaining to hours of work
            shall be promulgated in order to establish, insofar as practicable, uniformity in hours of
            work for all employees.

            (b) LEAVES WITH PAY: All leaves with pay shall be in accordance with
            ordinances adopted by the City or otherwise required by law.

            (c)    ATTENDANCE RECORDS: All employees must attend work in accordance
            with the requirements of administrative regulations, leave ordinances, the Department's
            Rules and procedures, and these Personnel Rules. It is the duty of the Appointing
            Authority to keep daily attendance records and to submit attendance reports to the
            Human Resources Department.

     SECTION 2: REPORTS OF ABSENCE:

            (a)    An employee must report any absence not previously arranged in accordance
            with departmental rules or procedures, but in no case later than one hour after the usual
            time of beginning work each day of such absence, unless the cause of the absence is
            such that it will be of considerable duration and the employee has provided appropriate
            notification and documentation of the covered absence.

            (b)   The Human Resources Director or a designee can investigate absences for which
            compensation is claimed. Appropriate documentation from City designated Health Care
            Providers may be required stating that the employee was unable to perform the duties of
            the Position during the entire absence.

     SECTION 3: MEDICAL EXAMINATION FOLLOWING ABSENCE: The Human
     Resources Director or the Appointing Authority may require a statement from a qualified
     licensed Health Care Provider that the employee is able to return to work. If an employee has
     been absent for ten (10) or more work days because of illness or injury, the Human Resources
     Director or the Appointing Authority may require a fitness for duty evaluation by the City
     Physician or other medical specialist designated by the City before the employee is permitted to
     return to work.

     SECTION 4: LEAVE WITHOUT COMPENSATION: When a Regular employee requests a
     leave of absence not covered under the FMLA, the Appointing Authority may grant such leave
     of absence without pay for a period not longer than a total of twelve (12) working days,
     consecutive or otherwise, within a six (6) month period. A leave of absence longer than twelve
     (12) working days but not to exceed six (6) months, unless specifically provided elsewhere in
     these Rules, may be granted to a Regular employee upon written recommendation of the
     Appointing Authority and with the approval of the Human Resources Director. Such leave may




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     be cancelled at any time and the employee ordered to report back to duty within a reasonable
     time.




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                           RULE XV. PERFORMANCE EVALUATIONS

     SECTION 1: PURPOSE: The purpose of this Rule is to enhance the morale, incentive, and
     productivity of employees.

            (a)    The performance of employees shall be evaluated in writing and the evaluation
            reported to and retained by the Human Resources Director. Such evaluations shall be
            considered when pertinent in determining salary increases or decreases, Promotions,
            Demotions, Transfers, Separations, and other personnel actions.

            (b)    The Human Resources Director shall have the authority to waive the
            performance evaluation of any employee for a particular period. The waiver of an
            evaluation hereunder shall not be construed either favorably or unfavorably with respect
            to the employee.

     SECTION 2: EVALUATORS:

            (a)   AUTHORITY: The Human Resources Director shall designate the Appointing
            Authorities as Evaluators who in turn may designate Evaluators. The Appointing
            Authorities shall provide the Human Resources Director with a record of all Evaluators.

            (b) RESPONSIBILITIES: Evaluators shall be responsible for the timely and
            accurate preparation and submission of performance evaluation reports for the
            employees in their area of assigned responsibility. Evaluators shall attest to the validity
            and accuracy of the evaluations.

            (c)    TRAINING: The Human Resources Director shall provide a continuing program
            of orientation and training for all Evaluators regarding performance evaluations. Each
            Evaluator must participate in an introductory training course. After the initial training,
            Evaluators need be retrained only at the request or recommendation of the Appointing
            Authority, Human Resources Director, the Personnel Board or the City Manager.

            (d) DISQUALIFICATIONS FOR LOW RATINGS: Any employee whose most
            recent performance evaluation score was less than 50 overall shall be disqualified from
            any promotional examination until such time as the employee receives a score of 50 or
            higher.

     SECTION 3: REQUEST FOR APPEALS HEARING: A Regular employee may appeal an
     overall performance evaluation score of less than 60 within ten (10) calendar days of receiving
     the performance evaluation by filing a written request for a hearing before the Personnel Board
     with the Human Resources Director, who shall advise the Personnel Board Chair. The written
     request for appeal shall contain the employee's name, dates of service, Position and brief
     explanation as to why the employee believes the evaluation is inaccurate. Only the overall
     performance evaluation score may be appealed.




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     SECTION 4: APPEALS HEARING FOR PERFORMANCE EVALUATION:

           (a)     Within ten (10) calendar days after receipt of such petition, the Personnel Board
           shall fix a place and time for holding a public hearing within thirty (30) calendar days
           thereafter. Written notice of such time and place shall be delivered or mailed promptly
           to the Employee, to the Appointing Authority and to the City Manager.

           (b)    A quorum consists of three (3) Associate Members and one (1) Employee
           Member. The Chair or acting Chair shall grant a continuance at the time of hearing for
           lack of quorum or emergency. The Chair may grant a continuance to either party for
           good and sufficient cause. Absent an emergency, a request for continuance should be
           received in writing by the Human Resources Director with a copy to the opposing party
           no less than seven (7) calendar days prior to the date of the scheduled hearing.

           (c)    The Personnel Board may call any person to appear or request the production of
           any records relevant to the appeal prior to or at the hearing.

           (d)    The Appointing Authority or a designated representative shall have the right to
           be present at such hearing and to be represented by counsel appointed by the City.

           (e)    The employee shall have the right to appear at such hearing and to be represented
           by an attorney licensed to practice in the State of Florida.

           (f)   The appeals hearing shall not be subject to formal rules of evidence. The findings
           of the Personnel Board, however, shall be based upon competent and substantial
           evidence of record.

           (g)   The City shall have the burden of presenting evidence to prove the evaluation is
           accurate.

           (h)    The Appointing Authority or the Human Resources Director shall have the right
           to present evidence to substantiate the evaluation and refute the employee's evidence.

           (i)   Each party shall have the right to make an opening statement.

           (j)    Rulings on objections and questions of procedures or law shall be made by the
           Chair. Before making the ruling, the Chair or any Member of the Personnel Board may
           request an opinion from the City Attorney for the Personnel Board.

           (k)    After both the employee and the Appointing Authority have presented their
           testimony and evidence, the Personnel Board shall receive argument in summation. The
           employee may reserve time for rebuttal.

           (1) After closing arguments, the Personnel Board shall hold an open executive
           session to consider the testimony and evidence presented. At such open executive


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           session, only the Members of the Personnel Board and, at the Personnel Board's request,
           the City Attorney for the Personnel Board shall be heard.

            (m) The Chair shall entertain a motion, duly seconded, to grant or deny the appeal.
            Each Associate Member shall be entitled to one vote; the three Employee Members
            shall be entitled to a total of one vote, voting as an Employee Member unit. The Human
            Resources Director as Secretary of the Personnel Board shall then call the roll. A
            majority vote of those Members present shall be required to grant the appeal. In the
            event of a tied vote, the appeal shall be denied and the performance evaluation score(s)
            shall remain.

            (n)    The Personnel Board may request proposed findings of fact and conclusions of
            law to be submitted after the hearing.

            (o)     Within five (5) calendar days after the close of the hearing, the Personnel Board
            shall report its findings in writing. The Human Resources Director shall promptly deliver
            or mail a copy of such findings to the Appointing Authority and to the employee.

            (p)    If the appeal results in a finding in favor of the employee, the evaluation shall be
            raised as applicable.

    SECTION 5: FAILURE OF PARTIES TO APPEAR: If the employee fails to appear, the
    Personnel Board shall deny the appeal unless the employee demonstrates cause for non-
    appearance within ten (10) calendar days of the denial. If the Appointing Authority or the
    Appointing Authority designee fails to appear, the Personnel Board may hear the employee's
    evidence and render a decision thereon or may continue the hearing.

    SECTION 6: PERFORMANCE EVALUATION: A performance evaluation must be
    prepared for each employee. The Performance Evaluation shall accurately measure the
    employee's performance on the critical factors of the job and the overall responsibilities. The
    performance evaluation will be discussed with the employee. The performance evaluation is a
    permanent record in the employee's personnel file.




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                               RULE XVI. SPECIAL CITY AWARDS

     SECTION 1: PURPOSE: SPECIAL AWARDS: All Classified and Unclassified employees
     shall be Eligible for Special City Awards to be granted annually.

     SECTION 2: SPECIAL CITY AWARDS: Nominations shall be accepted by the Personnel
     Board for Special City Awards in the following categories:

            (a)    One Team, One City Award: For a team consisting of two or more persons (not
           necessarily within the same department) working together in a collaborative effort to
           accomplish one of the City's key intended outcomes.

            (b)   Beyond the Call of Duty Award: For an employee whose brave, compassionate
           or humane act(s) went above and beyond the scope of normal employment duties.

            (c)    City Betterment Award: For an employee who contributed to the betterment of a
           Department's or the City's operations by developing new methods, procedures, ideas or
           suggestions that resulted in the enhancement of safety, the saving of time, labor and/or
           money to the City.

            (d)    Community Volunteer Award: For an employee whose volunteer work, outside
           the scope of normal employment duties, made a vital and valuable contribution to the
           community or to the civic, educational, athletic or other endeavors in the community.

            (e)     Customer Service Award: For an employee whose extraordinary customer
           service at work exceeded expectations and which has been witnessed and documented.

     SECTION 3: EMPLOYEE OF THE YEAR AWARD: The Personnel Board will present the
     Annual Employee of the Year Award to one of the recipient(s) of the above Special City
     Awards. The recipient(s) will be recognized by having their name(s) affixed to a plaque to be
     displayed at City Hall.

     SECTION 4: NOMINATIONS AND SELECTIONS: The Human Resources Director will
     determine the time and manner for nominations. The selection of nominations and awardees
     will be made by the Personnel Board. The selections made by the Personnel Board are final and
     not appealable.




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                                RULE XVII. EMPLOYEE TRAINING

     SECTION 1: NEW EMPLOYEE TRAINING: The Appointed Authority is responsible for
     the instruction and training of employees in their duties and for providing applicable policies
     and objectives. The Human Resources Director shall provide training programs as necessary.

     SECTION 2: IN-SERVICE TRAINING: The Human Resources Director may provide
     ongoing training opportunities.

     SECTION 3: OTHER TRAINING: An employee who successfully completes any academic,
     extension, correspondence, or other special training courses may submit proof thereof to the
     Human Resources Director.




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                     RULE XVIII. MEDICAL AND PHYSICAL STANDARDS

     SECTION 1: APPLICANTS FOR EMPLOYMENT: The Human Resources Director is
     authorized to adopt physical and medical standards which are job related to the Position, are
     consistent with business necessity, and required of all applicants for that Position.

     SECTION 2: EMPLOYEES: The Human Resources Director is authorized to adopt physical
     and medical standards which are job related to the Position, are consistent with business
     necessity, and required of all employees for that Position.

             (a)    When an employee fails to meet such physical and medical standards deemed
            necessary for continued employment in the Position held, and cannot do so with or
            without reasonable accommodation, a Classification or Organizational Transfer may be
            made, if practical, to a Position for which the employee is qualified, notwithstanding any
            other provisions of these Rules. If a Transfer cannot be arranged, the provisions of Rule
            XI, Sections 3 and 4 will apply. Any Transfer, Demotion or reduction in pay made in
            accordance with this Rule is subject to approval of the City Manager and the Human
            Resources Director. This paragraph shall not apply to Police Officers and Fire Fighters
            with respect to Transfers outside of their respective departments.

             (b)    An employee who operates a motor vehicle as part of his/her duties, and who has
            acceptable vision only when wearing corrective lenses must, at all times while engaged in
            driving, wear such corrective lenses. An employee who fails to wear required corrective
            lenses while driving is subject to disciplinary action as provided in Rule XI.




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